Filed 12/15/20                             Case 20-02093                        Doc 76



       1                                  FOR PUBLICATION

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       3                         UNITED STATES BANKRUPTCY COURT

       4                         EASTERN DISTRICT OF CALIFORNIA

       5

       6   In re:                                   Case No. 18-22453-A-7
       7   ECS REFINING, INC.,
       8

       9                   Debtor.
      10

      11   KIMBERLY J. HUSTED,                      Adv. No. 20-02093-A
      12                   Plaintiff,               PH-2, DB-2
      13          V.                                MEMORANDUM
      14   KENNETH TAGGART et al.,
      15                   Defendants.
      16

      17
                            Argued and submitted on November 24, 2020
      18
                                     at Sacramento, California
      19
                    Honorable Fredrick E. Clement, Bankruptcy Judge Presiding
      20

      21
                 Appearances:   Christopher D. Sullivan, Roxanne Bahadurji
                                and Quentin Roberts, Diamond McCarthy LLP
      22
                                for Kimberly J. Husted, Chapter 7 trustee;
                                Howard M. Privette and Kay S. Kress,
      23
                                Troutman Pepper Hamilton Sanders LLP for
                                Kenneth Taggart, James Taggart and Jack
      24
                                Rockwood; Jamie P. Dreher and Joseph K.
                                Little, Downey Brand LLP for Sinclair
      25
                                Partners LLC, ECS Big Town LLC, and All
                                Metals, Inc.
      26

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      28
Filed 12/15/20                             Case 20-02093                                  Doc 76



      1          Directors of insolvent corporations owe fiduciary duties to

      2    creditors.     ECS Refining, Inc., was insolvent.     It owed SummitBridge a

      3    $26 million secured debt.     When SummitBridge refused to restructure

      4    its debt, ECS Refining’s directors employed bare-knuckled and, in some

      5    instances self-interested, tactics designed to “take out”

      6    SummitBridge.     Caught in the crossfire, unsecured creditors’ interests

      7    suffered.     After ECS Refining filed bankruptcy, the Chapter 7 trustee

      8    brought an action against the directors.        Has she stated a cause of

      9    action?

     10    I.    FACTS

     11          A.      The Preamble
     12          ECS Refining, Inc. (“ECS”) is a Delaware corporation.       It

     13    conducted business in California, Oregon, Texas, Ohio, and Arkansas.

     14    Founded in 1980, its primary business was the disposal and, in some

     15    cases, re-furbishing and re-selling of post-consumer electronic goods.

     16    Prior to filing bankruptcy, it employed 325 people and had been quite

     17    profitable.

     18          ECS was founded by Kenneth Taggart and James Taggart.

     19    Collectively, the Taggarts were ECS’s sole shareholders and

     20    constituted its board of directors. 1       They also comprised the majority

     21    of ECS’s officers.     James Taggart was its Chief Executive Officer and

     22    Kenneth Taggart was its Executive Vice President.        A third person,

     23    Jack Rockwood (collectively the “Individual Defendants”), served as

     24    its president.

     25
           1 Though not germane here, between 2012 and early 2018, another private

     26    equity fund, ZS Fund L.P., owned a 50% interest in ECS and had “two
           individuals associated with the ZS Fund” on ECS’s board of directors.
     27    First Am. Compl. 9:11-21. By the date that ECS filed bankruptcy, the
           Taggarts were the sole shareholders and only members of the board of
     28    directors. Id. at 9:23-24.
                                                   2
Filed 12/15/20                              Case 20-02093                               Doc 76



      1            The Taggarts are the primary, if not exclusive, owners of--and

      2    control--three entities with whom ECS regularly did business: Sinclair

      3    Partners, LLC; ECS Big Town, LLC; and All Metals, Inc. (collectively

      4    the “Insider Entity Defendants”).

      5            The Insider Entity Defendants had long-term real property leases

      6    with ESC.      Sinclair Partners, LLC, leased 262,000 square feet, known

      7    as “the Stockton facility,” to ECS under a 20-year lease.        Rent was

      8    $90,000 per month, subject to a 3.25% cost of living adjustment each

      9    year.     ECS Big Town, LLC, leased 216,000 square feet, known as “the

     10    Mesquite facility,” to ECS under a 10-year lease.        Rent for that

     11    facility was $51,000 per month.        All Metals, Inc., also leased space

     12    to ECS.      Those facilities were larger than reasonably required for

     13    ECS’s operations conducted at those sites.

     14            Butch and Sundance, LLC, is a limited liability company. It was

     15    formed on the eve of ECS’s bankruptcy and its only members are the

     16    Taggarts.      It was formed for the specific purpose of providing post-

     17    petition financing to ECS to be secured by receivables, inventory,

     18    cash and new equipment.

     19            B.    The SummitBridge Loans
     20            In 2012, Bank of America made two loans to ECS: a $15 million

     21    revolving loan and a $35 million term loan.       Those loans were secured

     22    by ECS’s equipment, inventory, goods, works in process, proceeds,

     23    fixtures, patents and trademarks and a pledge of stock in another

     24    company, Regenesys Glass Processing, LLC. 2

     25            In 2017, Bank of America sold its interest in the loans, and

     26    assigned its collateral securing those loans, to SummitBridge National

     27
           2 The relationship of Regenesys Glass Processing, LLC, if any, to the
     28    Taggarts and/or ECS is unclear.
                                                    3
Filed 12/15/20                             Case 20-02093                              Doc 76



      1    Investments V LLC (“SummitBridge”), a private equity firm.

      2          About the same time, ECS wanted to restructure its long-term

      3    debt, now held by SummitBridge.    To that end it retained MCA Financial

      4    Group, Ltd. (“MCA”) and the law firm of Snell & Wilmer LLP (“Snell &

      5    Wilmer”) to negotiate restructuring the SummitBridge loan.    MCA and

      6    Snell & Wilmer did secure a forbearance agreement for ECS from

      7    SummitBridge through December 31, 2017.

      8          However, as the forbearance agreement neared expiration, it

      9    became clear that the Taggarts and SummitBridge were at an impasse

     10    with respect to ECS’s ultimate goal of long-term restructuring of

     11    SummitBridge’s debt.    The Taggarts insisted that they have control of

     12    ECS and at least 40% ownership each; SummitBridge was agreeable to

     13    further concessions but wanted further equity in ECS.   Finding

     14    SummitBridge’s demands unacceptable, the Taggarts, MCA and Snell &

     15    Wilmer developed a plan to “take out” Summit Bridge.    But they needed

     16    time to identify and implement that strategy.    So, from January

     17    through April 2018, Snell & Wilmer LLP and MCA engaged in “duplicitous

     18    negotiations” with SummitBridge without any intention of giving it

     19    additional equity in ECS while the Taggarts positioned ECS for

     20    bankruptcy.

     21          C.     Preparing for ECS’s Bankruptcy
     22          While occupying SummitBridge with restructuring discussions, the

     23    Taggarts employed a tripartite strategy designed to subdue

     24    SummitBridge and to maximize Taggarts’ control over ECS during and

     25    after the bankruptcy process.    First, the Taggarts weakened ECS’s

     26    overall financial health by minimizing ECS’s cash position.

     27    Commercial rental payments to the Insider Entity Defendants were

     28    increased.    For example, during the negotiations with SummitBridge the
                                                  4
Filed 12/15/20                             Case 20-02093                                 Doc 76



      1    Taggarts, acting through ECS Big Town, increased rent for the Mesquite

      2    facility from $31,679 per month to $51,332 per month.    They also

      3    increased the rent for the Stockton facility by $3,000 per month to

      4    $112,583 per month.     ECS also paid unnecessarily high salaries and

      5    wages to its employees.     Trustee Husted complained that the Taggarts

      6    failed to address the “bloated overhead by adequately trimming the

      7    workforce” and made the “irrational decision to keep over” 325 full

      8    time employees.     First Am. Compl. 13:15-17, ECF No. 28.    ECS also paid

      9    vendors at rates greater than historical norms.

     10          Second, the Taggarts undermined SummitBridge’s position as a

     11    secured creditor.    Trustee Husted described the Taggarts efforts as “a

     12    scheme to minimize ESC’s assets that were subject to [its] security

     13    interest [in the days] leading up to the bankruptcy.”        Id. 12:18-20.

     14    As one of ECS’s financial advisors described the strategy,

     15          Well, the strategy...is a great way to put the screws to
                 Summit by squeezing of as much of the [accounts receivable]
     16          as possible before filing. Summit is limited to collecting
                 from and receiving proceeds from the [accounts receivable]
     17          at the time of filing ONLY. That will include cash on hand
                 at the time of filing. So that means once collected it
     18          should immediately be used to pay down critical expenses
                 otherwise the money will need to be held FBO Summit.
     19

     20    Id. at 14:23-27 (emphasis added).

     21    This strategy involved collecting accounts receivable, spending

     22    available cash and ceasing production, and segregating incoming

     23    inventory.   Because a large portion of SummitBridge’s collateral for

     24    the loan was “inventory goods, works in progress, fixtures, and

     25    proceeds of the foregoing,” stepping down the aggregate value of these

     26    assets increased its unsecured debt relative to its secured debt and

     27    marginalized its influence as a creditor.

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                                                  5
Filed 12/15/20                               Case 20-02093                             Doc 76



      1          D.   Chapter 11

      2          After positioning itself, ECS filed Chapter 11 bankruptcy. ECS’s

      3    counsel of choice in the Chapter 11 was Snell & Wilmer, as well as

      4    Ringstad & Sanders LLP.

      5          At the time ECS sought bankruptcy protection, SummitBridge was

      6    owed $26.690 million. 3     The collateral securing that debt had a value

      7    of $5 million.     Id.

      8          Third, the Taggarts attempted to capitalize on their pre-

      9    bankruptcy strategies with a loan from their new-formed company Butch

     10    and Sundance, LLC.       Under the control of the Taggarts, ESC filed a

     11    first-day motion to authorize it to obtain post-petition financing

     12    from Butch and Sundance, LLC, of up to $6 million, granting it liens

     13    and superpriority administrative claims, and authorizing the use of

     14    cash collateral.     Emergency Ex Parte Mot. for Order Authorizing Post-

     15    Petition Financing 2:3-4:25, In re ECS Refining, Inc., No. 2018-22453

     16    (Bankr. E.D. Cal. April 24, 2018), ECF No. 12.      That motion

     17    represented:

     18          There is no dispute that, without substantial post-petition
                 financing, the Debtor will be forced to immediately cease
     19          business operations and engage in a fire sale of its assets
                 without the ability to maximize their value through its
     20          planned organization, which it plans to effectuate within
                 the exclusivity period, if not sooner, and will benefit all
     21          creditors.

     22    First Am. Compl. 20:6-9.

     23    At the initial hearing of the motion there was “no disclosure that

     24
           3 The court takes judicial notice of (1) the existence of Proof of
     25    Claim No. 327-2, In re ECS Refining, Inc., No. 18-22453 (Bankr. E.D.
           Cal. November 16, 2018), filed by SummitBridge; and (2) the absence of
     26    objection to that proof of claim. Fed. R. Evid. 201; Burbank-
           Glendale-Pasadena Airport Auth. v. City of Burbank, 136 F.3d 1360,
     27    1364 (9th Cir. 1998) (court may take judicial notice of court
           filings). Absent objection, the Proof of Claim is deemed allowed and
     28    presumptively valid. 11 U.S.C. § 502(a); Fed. R. Bankr. P. 3001(f).
                                                    6
Filed 12/15/20                             Case 20-02093                                  Doc 76



      1    Butch & Sundance LLC was purely self-funded and operated by the

      2    Taggarts.”   Id. 20:10-11.

      3          The motion was supported by the unsigned declaration of ECS

      4    president, Jack Rockwood, who declared the terms were “fair,

      5    reasonable and adequate.”    Id. 20:17-19.      But that is not true.    For

      6    example, the proposed order approving the loan stated that the loan

      7    was “negotiated in good faith and at arm’s length” between ECS and

      8    Butch and Sundance, LLC.     Ex Parte Motion 32:9-10.     Notwithstanding

      9    its claim of evenhandedness, Butch and Sundance, LLC, conditioned its

     10    willingness to make the loan on terms that were one-sided: (1) wavier

     11    of the trustee’s surcharge rights, 11 U.S.C. § 506(c); freeing post-

     12    petition acquired property from any security interests granted to a

     13    pre-petition lender, i.e., SummitBridge, 11 U.S.C. § 552; (2)

     14    automatic stay relief on default; and (3) preclusion of any person

     15    from using post-petition loan proceeds to “investigate, assert, join,

     16    commence, support or prosecute any action” for “any avoidance action

     17    or other actions arising under Chapter 5 or Section 724(a).”       Id.

     18    39:18-40:5, 40:27-41:24, 42:4-19.

     19          Under the terms of the proposed post-petition financing, in

     20    exchange for a loan of up to $ 6 million, Butch and Sundance LLC would

     21    receive a superpriority administrative expenses claim, 11 U.S.C. §

     22    364(c); a first priority security interest against “any unencumbered

     23    pre-petition assets and all post-petition assets of the debtor”; a

     24    security interest “on any and [all] pre-petition assets, subject only

     25    to any existing as of the Petition Date, valid, perfected and

     26    unavoidable liens”; and a first priority security interest against

     27    “any and all claims arising under Chapter 5 of the Bankruptcy Code,

     28    including without limitation Sections 502(d), 544, 547, 548, 549, 550
                                                  7
Filed 12/15/20                             Case 20-02093                               Doc 76



      1    and 553.”   Id. 2:28-4:6.

      2          In response to ECS’s motion, SummitBridge informed the court that

      3    the Taggarts were, in fact, the owners of Butch and Sundance, LLC.

      4          E.    Conversion to Chapter 7
      5          Six months after the Chapter 11 case was filed, the court ordered

      6    it converted to a case under Chapter 7.     Kimberly J. Husted (“Husted”)

      7    was appointed as the trustee.

      8    II.   PROCEDURE

      9          Trustee Husted filed a complaint against the Individual

     10    Defendants and the Insider Entity Defendants.    Those defendants filed

     11    motions to dismiss the complaint and the trustee exercised her right

     12    to amend the complaint.     Fed. R. Civ. P. 15(a)(1)(B), incorporated by

     13    Fed. R. Bankr. P. 7015.

     14          Plaintiff Husted’s First Amended Complaint included 12 causes of

     15    action: breach of fiduciary duty; corporate waste; avoidance of

     16    preferences; avoidance of actual fraudulent transfers; avoidance of

     17    constructively fraudulent transfers; avoidance of unauthorized post-

     18    petition transfers; recovery of avoided transfers; equitable

     19    subordination; and objection to Proofs of Claim.

     20          The Individual Defendants now move under Rule 12(b)(6) to dismiss

     21    the First Amended Complaint.    The Insider Entity Defendants now move

     22    under Rule 12(b)(6) to dismiss the First Amended Complaint or, in the

     23    alternative, under Rule 12(e) for a more definite statement.

     24    Plaintiff Husted opposes the motion. 4

     25
           4 The trustee does not oppose the motion as to (1) first and second
     26    causes of action: defendant Jack Rockwell; (2) the third cause of
           action: as to Sinclair Partners and ECS Big Town; (3) the sixth cause
     27    of action: all defendants; or (4) the eighth through twelfth causes of
           action: all defendants. As a result, the motion will be granted
     28    without leave as to that defendant and those causes of action.
                                                  8
Filed 12/15/20                             Case 20-02093                              Doc 76



      1    III. JURISDICTION

      2          This court has jurisdiction.    28 U.S.C. §§ 1334(a)-(b), 157(b);

      3    see also General Order No. 182 of the Eastern District of California.

      4    Because all parties have consented to entry of final orders and

      5    judgments, this court need not decide whether the matters presented

      6    are core or non-core.     28 U.S.C. § 157(b)(3); Wellness Int’l Network,

      7    Ltd. v. Sharif, 135 S.Ct. 1932, 1945-46 (2015); First Am. Compl. 7:21-

      8    22, ECF # 28; Mot. to Dismiss 5:16-17, August 19, 2020, ECF No. 41;

      9    Mem. P. & A. 9:8-10, August 19, 2020, ECF No. 50.

     10    IV.   LAW

     11          A.    Rule 12(b)(6)
     12          Under Federal Rule of Civil Procedure 12(b)(6), a party may move

     13    to dismiss a complaint for “failure to state a claim upon which relief

     14    can be granted.”     Fed. R. Civ. P. 12(b)(6), incorporated by Fed. R.

     15    Bankr. P. 7012(b).    “A Rule 12(b)(6) dismissal may be based on either

     16    a lack of a cognizable legal theory or the absence of sufficient facts

     17    alleged under a cognizable legal theory.”       Johnson v. Riverside

     18    Healthcare Sys., LP, 534 F.3d 1116, 1121–22 (9th Cir. 2008); accord

     19    Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001).

     20          “After Iqbal and Twombly, courts employ a three-step analysis in

     21    deciding Rule 12(b)(6) motions. At the outset, the court takes notice

     22    of the elements of the claim to be stated. Eclectic Properties East,

     23    LLC v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014).

     24    Next, the court discards conclusions. Ashcroft v. Iqbal, 556 U.S. 662,

     25    679 (2009); United States ex rel. Harper v. Muskingum Watershed

     26    Conservancy District, 842 F.3d 430, 438 (6th Cir. 2016) (the complaint

     27    failed to include “facts that show how” the defendant would have known

     28    alleged facts). Finally, assuming the truth of the remaining well-
                                                  9
Filed 12/15/20                          Case 20-02093                                 Doc 76



      1    pleaded facts, and drawing all reasonable inferences therefrom, the

      2    court determines whether the allegations in the complaint “plausibly

      3    give rise to an entitlement to relief.” Iqbal, 556 U.S. at

      4    679; Sanchez v. United States Dept. of Energy, 870 F.3d 1185, 1199

      5    (10th Cir. 2017). See generally, Wagstaff Practice Guide: Federal

      6    Civil Procedure Before Trial, Attacking the Pleadings, Motions to

      7    Dismiss § 23.75-23.77 (Matthew Bender & Company, Inc. 2019).”     Aluisi

      8    v. Jorgensen (In re Jorgensen), No. 19-01026, 2019 WL 6720418, at *4

      9    (Bankr. E.D. Cal. Dec. 10, 2019)

     10          “Plausibility means that the plaintiff's entitlement to relief is

     11    more than possible. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556, 570

     12    (2007) (the facts pled “must cross the line from conceivable to

     13    plausible”); Almanza v. United Airlines, Inc., 851 F.3d 1060, 1074 (11

     14    Cir. 2017). Allegations that are “merely consistent” with liability

     15    are insufficient. Iqbal, 556 U.S. at 662; McCauley v. City of Chicago,

     16    671 F.3d 611, 616 (7th Cir. 2011).”    Aluisi v. Jorgensen, 2019 WL

     17    6720418, at *4.

     18          “If the facts give rise to two competing inferences, one of which

     19    supports liability and the other of which does not, the plaintiff will

     20    be deemed to have stated a plausible claim within the meaning

     21    of Iqbal and Twombly. Houck v. Substitute Tr. Servs., Inc., 791 F.3d

     22    473, 484 (4th Cir. 2015); 16630 Southfield Ltd. P'hsip v. Flagstar

     23    Bank, F.S.B., 727 F.3d 502, 505 (6th Cir. 2013); see also, Wagstaff,

     24    Motion to Dismiss at § 23.95. But if one of the competing inferences

     25    is sufficiently strong as to constitute an “obvious alternative

     26    explanation,” that inference defeats a finding of plausibility and the

     27    complaint should be dismissed. Marcus & Millichap Co., 751 F.3d at 996

     28    (“Plaintiff's complaint may be dismissed only when defendant's
                                                 10
Filed 12/15/20                             Case 20-02093                               Doc 76



      1    plausible alternative explanation is so convincing that the

      2    plaintiff's explanation is implausible.”); New Jersey Carpenters

      3    Health Fund v. Royal Bank of Scotland Group, PLC, 709 F.3d 109, 121

      4    (2nd Cir. 2013).”    Aluisi v. Jorgensen, 2019 WL 6720418, at *4.

      5            In addition to looking at the facts alleged in the complaint, the

      6    court may also consider some limited materials without converting the

      7    motion to dismiss into a motion for summary judgment under Rule 56.

      8    Such materials include (1) documents attached to the complaint as

      9    exhibits, (2) documents incorporated by reference in the complaint,

     10    and (3) matters properly subject to judicial notice.    United States v.

     11    Ritchie, 342 F.3d 903, 908 (9th Cir. 2003); accord Swartz v. KPMG LLP,

     12    476 F.3d 756, 763 (9th Cir. 2007) (per curium) (citing Jacobson v.

     13    Schwarzenegger, 357 F.Supp.2d 1198, 1204 (C.D. Cal. 2004)).    A

     14    document may be incorporated by reference, moreover, if the complaint

     15    makes extensive reference to the document or relies on the document as

     16    the basis of a claim.     Ritchie, 342 F.3d at 908.

     17            B.   Rule 12(e)
     18            Under Federal Rule of Civil Procedure 12(e), a party may move to

     19    dismiss a complaint “for a more definite statement.”    Fed. R. Civ. P.

     20    12(e), incorporated by Fed. R. Bankr. P. 7012(b).     Rule 12(e) is

     21    proper where the complaint is sufficiently conclusory, confused or

     22    unclear that a defendant cannot properly be expected to respond.

     23    Balderrama v. Pride Indus., Inc., 963 F.Supp.2d 646, 667 (W.D. TX

     24    2013).

     25            C.   Internal Affairs Doctrine
     26            “A federal court sitting in diversity must look to the forum

     27    state's choice of law rules to determine the controlling substantive

     28    law.”    Mazza v. Am. Honda Motor Co., 666 F.3d 581, 589 (9th Cir. 2012)
                                                 11
Filed 12/15/20                           Case 20-02093                              Doc 76



      1    (quoting Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1187

      2    (9th Cir. 2001), opinion amended on denial of reh’g, 273 F.3d 1266

      3    (9th Cir. 2001).   The internal affairs doctrine is a conflict of law

      4    principle that “recognizes that only one State should have the

      5    authority to regulate a corporation’s internal affairs--matters

      6    peculiar to the relationships among or between the corporation and its

      7    current officer, directors, and shareholders--because otherwise a

      8    corporation could be faced with conflicting demands.”   Edgar v. MITE

      9    Corp., 457 U.S. 624, 645 (1982); Drulias v. 1st Century Bancshares,

     10    Inc., 30 Cal.App.5th 696, 705 (2018); Greb v. Diamond Int'l Corp., 56

     11    Cal.4th 243, 264-269 & fn. 35 (2013).

     12          Well aware of the conundrum articulated by Edgar, California has

     13    codified the internal affairs doctrine.

     14          The directors of a foreign corporation transacting
                 intrastate business are liable to the corporation, its
     15          shareholders, creditors, receiver, liquidator or trustee in
                 bankruptcy for the making of unauthorized dividends,
     16          purchase of shares or distribution of assets or false
                 certificates, reports or public notices or other violation
     17          of official duty according to any applicable laws of the
                 state or place of incorporation or organization, whether
     18          committed or done in this state or elsewhere. Such
                 liability may be enforced in the courts of this state.
     19

     20    Cal. Corp. Code § 2116.

     21          California’s treatment of the issue is consistent with the

     22    Restatement (Second) of Conflicts of Laws treatment of the problem.

     23          The local law of the state of incorporation will be applied
                 to determine the existence and extent of a director's or
     24          officer's liability to the corporation, its creditors and
                 shareholders, except where, with respect to the particular
     25          issue, some other state has a more significant relationship
                 under the principles stated in § 6 to the parties and the
     26          transaction, in which event the local law of the other
                 state will be applied.
     27

     28    Restatement (Second) of Conflict of Laws § 309 (1971), cited with
                                               12
Filed 12/15/20                             Case 20-02093                              Doc 76



      1    approval by Edgar, 457 U.S. at 645.

      2          The outermost reach of the internal affairs doctrine is not well

      3    defined.    But as applied to directors and corporate officers the

      4    doctrine applies to acts “which closely affect the organic structure

      5    or internal administration of the corporation,” as opposed to acts

      6    that can “practicably be decided differently in different states,”

      7    such as “causing the making of a contract or the commission of a

      8    tort.”     Rest.2d § 309, Comment (c).

      9          Exceptions to the rule exist where a state other than the state

     10    of incorporation has “a more significant relationship” to the parties

     11    and the transaction, Rest.2d § 309, Cal. Corp. Code § 2115; 5 Lidow v.

     12    Superior Court (International Rectifier Corp.), 206 Cal.App.4th 351,

     13    359 (2012) (recognizing the common law “more significant relationship”

     14    exception); Vaughn v. LJ Int'l, Inc., 174 Cal.App.4th 213, 225-226

     15    (2009) or where the interests of justice so require.    Rest.2d § 302 et

     16
           5 California Corporations Code § 2115 provides a statutory exception to
     17
           the “internal affairs doctrine.” In the pertinent part it provides:
     18
                 (a)    A foreign corporation (other than a foreign
     19                 association or foreign nonprofit corporation but
                        including a foreign parent corporation even though it
     20                 does not itself transact intrastate business) is
                        subject to the requirements of subdivision (b)
     21                 commencing on the date specified in subdivision (d)
                        and continuing until the date specified in subdivision
     22                 (e) if:
                        (1) The average of the property factor, the payroll
     23                 factor, and the sales factor (as defined in Sections
                        25129, 25132, and 25134 of the Revenue and Taxation
     24                 Code) with respect to it is more than 50 percent
                        during its latest full income year and
     25                 (2) more than one-half of its outstanding voting securities
                        are held of record by persons having addresses in this
     26                 state appearing on the books of the corporation on the
                        record date for the latest meeting of shareholders held
     27                 during its latest full income year or, if no meeting was
                        held during that year, on the last day of the latest full
     28                 income year....
                                                    13
Filed 12/15/20                           Case 20-02093                              Doc 76



      1    seq.; Gillis v. Pan Amer. Western Petroleum Co., 3 Cal.2d 249, 252

      2    (1935).

      3    V.    DISCUSSION

      4          The effect of Taggarts’ actions was to restrict SummitBridge’s

      5    collateral to the $5 million of collateral it held on the date ECS

      6    filed for bankruptcy protection and to relegate the remainder of the

      7    debt, i.e., $21.690 million, to that of unsecured debt.   11 U.S.C. §§

      8    506(a), (d), 552(a) (“[P]roperty acquired by the estate or by the

      9    debtor after the commencement of the case is not subject to any lien

     10    resulting from any security agreement entered into by the debtor

     11    before the commencement of the case”); Emergency Ex Parte Mot. for

     12    Order Authorizing Post-Petition Financing 2:28-4:6, In re ECS

     13    Refining, Inc., No. 2018-22453 (Bankr. E.D. Cal. April 24, 2018), ECF

     14    No. 12 (interposing an intervening lien).

     15          These allegations give rise to the inference that the Taggarts

     16    intended to use plan confirmation to force SummitBridge to restructure

     17    its debt.   Bifurcating SummitBridge’s claim positioned ECS for

     18    confirmation fight with SummitBridge by: (1) reducing the amount that

     19    must be paid under the best interests test, i.e., $5 million, 11

     20    U.S.C. § 1129(a)(7)(A)(ii); (2) denying SummitBridge an absolute

     21    priority rule objection as to its secured claim by proposing a plan

     22    that called for the sale of SummitBridge’s now diminished collateral,

     23    11 U.S.C. §§ 1129(b)(1),(2)(A)(ii) (which overrides a 11 U.S.C. §

     24    1111(b) election), 1111(b)(1)(B)(ii)); Cf. RadLAX Gateway Hotel, LLC

     25    v. Amalgamated Bank, 566 U.S. 639 (2012) (construing 11 U.S.C. §

     26    1129(b)(2)(A)(iii)); 7 Collier on Bankruptcy ¶ 1111.03[5][c] (Alan N.

     27    Resnick & Henry J. Sommer eds., 16th ed. 2020); and (3) minimizing any

     28    argument that the absolute priority rule is violated as to unsecured
                                               14
Filed 12/15/20                             Case 20-02093                              Doc 76



      1    creditors by reducing the amount of the “new value” contribution

      2    necessary to overcome that objection.      11 U.S.C. § 1129(b)(2)(B); In

      3    re Bonner Mall Partnership, 2 F.3d 899, 906 (9th Cir. 1993), abrogated

      4    on other grounds by Bullard v. Blue Hills Bank, 575 U.S. 496 (2105).

      5          But neither federal, nor state, i.e., Delaware, law authorizes

      6    the trustee to act solely on behalf of an individual creditor, i.e.,

      7    SummitBridge.     Caplin v. Marine Midland Grace Trust Co. of New York,

      8    406 U.S. 416 (1972) (a bankruptcy trustee may not pursue a claim for

      9    injury solely to benefit one creditor or one class of creditors);

     10    Williams v. Cal. 1st Bank, 859 F.2d 664, 666 (9th Cir. 1988); Mixon v.

     11    Anderson (In re Ozark Rest. Equip. Co.), 816 F.2d 1222, 1227-28 (8th

     12    Cir. 1987); N. Am. Catholic Educ. Programming Found., Inc. v.

     13    Gheewalla, 930 A.2d 92, 99 (Del. 2007) (creditors do not hold a direct

     14    right of action against directors for breach of a fiduciary duty);

     15    Nemec v. Shrader, 991 A.2d 1120, 1129 (Del. 2010). 6

     16          The question is whether the Taggarts’ actions, which were aimed

     17    at SummitBridge, incidentally and unlawfully injured ECS’s unsecured

     18    creditors.

     19          A.     First Cause of Action: Breach of Fiduciary Duties
     20          Plaintiff Husted alleges that defendants Taggarts’ actions

     21    breached their fiduciary duties of loyalty, care and good faith.

     22                 1.    Choice of Law: Delaware or California
     23          Edgar and California Corporations Code § 2116 specifically

     24    contemplate the breed of cat now before this court.     Section 2116

     25

     26    6 Because Caplin v. Marine Midland Grace Trust Co. of New York, 406
           U.S. 416 (1972), precludes the trustee from acting on behalf of but a
     27    single creditor the Individual Defendants’ motion to dismiss the First
           Amended Complaint will be granted without leave to amend insofar as
     28    the trustee seeks to recover for injuries unique to SummitBridge.
                                                 15
Filed 12/15/20                             Case 20-02093                               Doc 76



      1    applies to a director’s liability to “the corporation, its

      2    shareholders, creditors, receiver, liquidator or trustee in

      3    bankruptcy.”     By the same measure it applies to directors’ actions

      4    “for the making of unauthorized dividends, purchase of shares or

      5    distribution of assets or false certificates, reports or public

      6    notices or other violation of official duty.”     Efforts by the board of

      7    directors to restructure debt or to posture the corporation for

      8    reorganization in Chapter 11 are “official duties” within the meaning

      9    of § 2116.     The Chapter 7 trustee contends the directors Taggarts’

     10    actions were overly zealous or self-interested.

     11          Moreover, California and federal courts have had little

     12    difficulty finding a breach of fiduciary duty that affects the organic

     13    structure of the corporation and, as a result, that Delaware law

     14    provides the rule of decision.    Vaughn v. LJ Int’l, Inc., 174

     15    Cal.App.4th 213, 223-25 n. 5 (2009) (apply internal affairs doctrine

     16    to breach of fiduciary duty); Banjo Buddies, Inc. v. Renosky, 399 F.3d

     17    168, 179 n. 10 (3rd Cir. 2005); Gabriel v. Preble, 396 F.3d 10, 13

     18    (1st Cir.2005); Hollis v. Hill, 232 F.3d 460, 465-66 (5th Cir. 2000);

     19    Nagy v. Riblet Products Corp., 79 F.3d 572, 576 (7th Cir. 1996);

     20    Hausman v. Buckley, 299 F.2d 696, 703 (2d Cir.1962) (“the internal

     21    affairs rule has been applied repeatedly in order to determine the

     22    fiduciary duty of a foreign corporation's directors”).

     23          Plaintiff Husted argues that California has a more significant

     24    relationship to the parties and the transaction than Delaware has to

     25    the parties and the transaction.     Rest.2d § 309.   If Edgar, and its

     26    progeny, admit such an exception, VantagePoint Venture Partners 1996

     27    v. Examen, Inc., 871 A.2d 1108, 1115-1118 (Del. 2005) (holding

     28    California Corp. Code § 2115, the codification of the more significant
                                                 16
Filed 12/15/20                           Case 20-02093                               Doc 76



      1    relationship exception, unconstitutional), this is not it.     The laws

      2    of the state of incorporation presumptively provide the rule of

      3    decision and it is the “unusual case’ where the forum state has a more

      4    significant relationship to the parties and the occurrence.”    Mukamal

      5    v. Bakes, 378 Fed.Appx. 890, 897 (11th Cir. April 30, 2010).    In

      6    determining whether the forum state has a more significant

      7    relationship to the parties and the transaction, the court should

      8    consider:

      9           (a) the needs of the interstate and international systems,
                  (b) the relevant policies of the forum, (c) the relevant
     10           policies of other interested states and the relative
                  interests of those states in the determination of the
     11           particular issue,(d) the protection of justified
                  expectations, (e) the basic policies underlying the
     12           particular field of law, (f) certainty, predictability and
                  uniformity of result, and (g) ease in the determination and
     13           application of the law to be applied.
     14    Restatement (Second) Conflicts of Laws § 6 (1971).

     15           The trustee attempts to characterize this dispute as one that is

     16    rooted deeply, perhaps even exclusively, in California.   But that is

     17    not true.   As the trustee herself characterizes ECS’s operations it

     18    conducted business in five states and employees 325 persons.      Its

     19    creditors come from throughout the United States and themselves have

     20    national presences.   Under the guidance of a national law firm, Snell

     21    & Wilmer, the Taggarts employed a companywide strategy to take over

     22    ECS.   The strategy involved keeping SummitBridge talking about

     23    restructuring its debt while the Taggarts prepared for ECS’s

     24    bankruptcy; weakening ECS companywide by reducing cash, work in

     25    progress, and accounts receivable; and undermining SummitBridge’s

     26    position as a secured creditor by using its collateral without

     27    replacing it.   After placing ECS in peril, Taggarts, acting through

     28    their wholly-owned entity, Butch and Sundance, LLC, purported to
                                               17
Filed 12/15/20                             Case 20-02093                                 Doc 76



      1    rescue ECS with a post-petition loan which falsely purported to be on

      2    terms that were “fair, reasonable and adequate.”    Adding insult to

      3    injury neither ECS, nor Taggarts, initially disclosed their ownership

      4    in that entity.    The simple point is that California’s tie to this

      5    case is far weaker than the trustee believes, and that fragile

      6    connection weighs heavily in favor of the rule, i.e., application of

      7    Delaware law, and against application of California law.

      8          Moreover, justified expectations also suggest application of the

      9    rule, and not the exception.    Taggarts certainly expected, even

     10    bargained for, application of Delaware law.     Sophisticated creditors

     11    (who now speak through trustee Husted) contemplating business with ECS

     12    are fairly charged with knowledge of the law, including the internal

     13    affairs doctrine, and must have expected application of well-trenched

     14    choice of law rules against them.

     15          Finally, certainty, predictability and uniformity of result weigh

     16    in favor of the application of Delaware law.    ECS had a presence in

     17    five states: California, Oregon, Texas, Ohio and Arkansas.    Its

     18    Chapter 11 petition might well have been proper in any of those

     19    venues.   28 U.S.C. § 1408.    Literal application of the internal

     20    affairs doctrine will produce certainty and uniformity in the choice

     21    of law analysis.    Deviating from it undercuts uniformity and certainty

     22    with respect to the standard by which the Individual Defendants’

     23    actions would be judged.

     24          For these reasons, the court believes that Delaware, and not

     25    California, law controls.

     26               2.      Corporate directors and their duties
     27          Delaware law imposes fiduciary duties on corporate directors.       1

     28    R. Frank Balotti & Jesse A. Finkelstein, Delaware Law of Corporations
                                                 18
Filed 12/15/20                           Case 20-02093                                    Doc 76



      1    and Business Organizations § 4.14 (3rd ed. 2020-2 Supplement).       As a

      2    rule, that duty requires directors to exercise due care and loyalty

      3    toward the corporation and its shareholders.      Mills Acquisition Co. v.

      4    Macmillan, Inc., 559 A.2d 1261, 1280 (Del. 1989); Balotti &

      5    Finkelstein, supra, at § 4.14. 7

      6          Directors must exercise due care, both in decision making by

      7    acting on an informed basis and in “other aspects of their

      8    responsibilities.”   Balotti & Finkelstein, supra, at § 4.15.      As a

      9    rule, in managing corporate affairs directors of a corporation must

     10    exercise “that amount of care which ordinarily careful and prudent men

     11    would use in similar circumstances.”       Graham v. Allis-Chambers Mfg.

     12    Co., 188 A.2d 125, 130 (1963).     But as applied to decision-making,

     13    Delaware courts have applied a gross negligence standard.      Stone v.

     14    Ritter, 911 A.2d 362, 369 (Del. 2006); Brehm v. Eisner, 746 A.2d 244,

     15    259 (Del. 2000); Aronson v. Lewis, 473 A.2d 805, 812 (Del. 1984).         As

     16    used in this context gross negligence means a “reckless indifference

     17    to or a deliberate disregard of the whole body of stockholders or

     18    actions which are without the bounds of reason.”      Tomczak v. Morton

     19    Thiokol, Inc., No. 7861, 1990 WL 42607, at *12 (Del. Ch. Apr. 5,

     20    1990).

     21          As one source summarized that duty:

     22          Judicial inquiry into whether directors have exercised “due
                 care” in the decision-making context (citation omitted)
     23          involves an examination of whether the directors informed
                 themselves, before “making a business decision, of all
     24          material information reasonably available to them.” The
                 directors' judgment must be “informed . . ., with the
     25          inquiry directed to the material or advice the board had
     26
           7 Good faith is not a separate subspecies of fiduciary duty but is a
     27    subsidiary element of the duty of loyalty. Stone v. Ritter, 911 A.2d
           362, 369-70 (Del. 2006); Balotti & Finkelstein, supra, at § 4.14 fn.
     28    624.
                                                 19
Filed 12/15/20                             Case 20-02093                              Doc 76



      1          available to it and whether it had sufficient opportunity
                 to acquire knowledge concerning the problem before acting.
      2

      3    Balotti & Finkelstein, supra, at § 4.15.

      4          Directors also act with loyalty toward the corporation in their

      5    management of corporate affairs and personal dealings with the

      6    corporation.     Id. at § 4.16 (describing it as a “companion obligation

      7    to the duty of care”).     This duty arises from the premise that “the

      8    directors are duty-bound to the true owners of the corporation, the

      9    stockholders.”    Id.   That duty precludes a director from “stand[ing]

     10    on both sides” of a transaction and from obtaining “any personal

     11    benefit through self-dealing.”     Andarko Petroleum Corp. v. Panhandle

     12    E. Corp., 545 A.2d 1171, 1174 (Del. 1988); QC Commc’ns, Inc. v.

     13    Quartone, No. 8218-VCG, 2014 WL 3974525, at *11 (Del. Ch. Aug. 15,

     14    2014); Pers. Touch Holding Corp. v. Glaubach, No. 11199-CB, 2019 WL

     15    937180, at *19 (Del. Ch. Feb. 25, 2019) (“[I]n a typical self-dealing

     16    transaction, the fiduciary is the recipient of an allegedly improper

     17    personal benefit, which usually comes in the form of obtaining

     18    something of value or eliminating a liability.”);     Balotti &

     19    Finkelstein, supra, at § 4.16.     The standard is not a subjective one.

     20    See AC Acquisitions Corp. v. Anderson, Clayton & Co., 519 A.2d 103,

     21    114-15 (Del. Ch. 1986).

     22          As the same commentator described the duty:

     23          In effect, it mandates that a director not consider or
                 represent interests other than the best interests of the
     24          corporation and its stockholders in making a business
                 decision. The duty of loyalty also “encompasses cases where
     25          the fiduciary fails to act in good faith,” including the
                 duty of oversight.
     26

     27    Balotti & Finkelstein, supra, at § 4.16     at fn. 747, citing Revlon,

     28    Inc. v. MacAndrews & Forbes Holdings, Inc., 506 A.2d 173, 182 (Del.
                                                 20
Filed 12/15/20                            Case 20-02093                               Doc 76



      1    1986); Weinberger v. UOP, Inc., 457 A.2d 701, 710 (Del. 1983); Guth v.

      2    Loft, Inc., 5 A.2d 503, 510 (Del. 1939) (“The rule that requires an

      3    undivided and unselfish loyalty to the corporation demands that there

      4    shall be no conflict between duty and self-interest.”); In re infoUSA,

      5    Inc. S'holders Litig., 953 A.2d 963, 996 (Del. Ch. 2007) (“If

      6    defendants actually engaged in this form of wasteful legerdemain in

      7    order to help [the Chief Executive Officer] acquire the company at an

      8    inequitable price, it constitutes a violation of their fiduciary duty

      9    of loyalty, even if it did not succeed.”).

     10          That same commentator stated:

     11          While the general concept underlying the duty of loyalty--
                 that a director refrain from self-dealing--is simple,
     12          application of the loyalty principle can be difficult,
                 especially in complex transactions involving corporate
     13          control. In such circumstances, this application can become
                 a highly fact-intensive exercise. This is in part because,
     14          in those circumstances, the courts interpret the duty of
                 loyalty as involving not only a duty to refrain from self-
     15          dealing but also a duty to deal “fairly” with the
                 stockholders when directors have an interest in the
     16          transaction. As the Delaware Supreme Court stated . . .
                 ‘[w]hen directors of a Delaware corporation are on both
     17          sides of a transaction, they are required to demonstrate
                 their utmost good faith and the most scrupulous inherent
     18          fairness of the bargain.’
     19    Balotti & Finkelstein, supra, at § 4.16 (emphasis added).

     20          A corollary to the duties of care and loyalty is the duty of

     21    disclosure.   Balotti & Finkelstein, supra, at § 4.18 (“The duty of

     22    disclosure--also known as the duty of candor--is not really a separate

     23    fiduciary duty; it stems from the fiduciary duties of due care and

     24    loyalty”).    When shareholders ask for corporate action, they must

     25    disclose any and all material information requested and must provide

     26    “a balanced, truthful account of all matters disclosed in the

     27    communications with shareholders.”    Id., citing Malone v. Brincat, 722

     28    A.2d 5, 12 (Del. 1998); see also Shell Petroleum, Inc. v. Smith, 606
                                                 21
Filed 12/15/20                            Case 20-02093                               Doc 76



      1    A.2d 112, 114 (Del. 1992); Stroud v. Milliken Enters., Inc., 552 A.2d

      2    476, 480 (Del. 1989); Lynch v. Vickers Energy Corp., 383 A.2d 278,

      3    279, 281 (Del. 1978).    Materiality is determined by whether there is a

      4    substantial likelihood that it would affect the shareholders’

      5    decision.

      6          The Delaware courts use the same materiality standard used
                 by the U.S. Supreme Court: “An omitted fact is material if
      7          there is a substantial likelihood that a reasonable
                 shareholder would consider it important in deciding how to
      8          vote.” That is, directors are only required to disclose
                 facts that significantly alter the “total mix” of
      9          information available to the stockholder.
     10    Balotti & Finkelstein, supra, at § 4.18.

     11          Even in instances where shareholder action is not sought, if

     12    directors “knowingly disseminate false information that results in

     13    corporate injury or damage to an individual shareholder,” the

     14    directors have breached their fiduciary duty. Malone v. Brincat, 722

     15    A.2d 5, 9 (Del. 1998).    “When the directors are not seeking

     16    shareholder action, but are deliberately misinforming shareholders

     17    about the business of the corporation, either directly or by a public

     18    statement, there is a violation of fiduciary duty.” Balotti &

     19    Finkelstein, supra, at § 4.18.

     20          A director’s fiduciary duty is limited by the “business judgment

     21    rule.”   Balotti & Finkelstein, supra, at § 4.19.   The business

     22    judgment rule is a “presumption that in making a business decision the

     23    directors of a corporation acted on an informed basis, in good faith

     24    and in the honest belief that the action taken is in the best

     25    interests of the company.”   Id. at § 4.19 fn. 1090, citing Aronson v.

     26    Lewis, 473 A.2d 805, 812 (Del. 1984); see also Citron v. Fairchild

     27    Camera & Instrument Corp., 569 A.2d 53, 64 (Del. 1989) (“The

     28    presumption initially attaches to a director-approved transaction
                                                22
Filed 12/15/20                           Case 20-02093                               Doc 76



      1    within a board's conferred or apparent authority in the absence of any

      2    evidence of fraud, bad faith, or self-dealing in the usual sense of

      3    personal profit or betterment.”); John Hancock Capital Growth Mgmt.

      4    Inc. v. Aris Corp., 9920, 1990 WL 126656, at *1 (Del. Ch. Aug. 24,

      5    1990).   When applicable, the business decisions of the board of

      6    directors “will not be disturbed if they can be attributed to any

      7    rational business purpose. A court under such circumstances will not

      8    substitute its own notions of what is or is not sound business

      9    judgment.” Balotti & Finkelstein, supra, § 4.19 fn. 1091, citing

     10    Sinclair Oil Corp. v. Levien, 280 A.2d 717, 720 (Del. 1971); see also

     11    Brazen v. Bell Atl. Corp., 695 A.2d 43, 49 (Del. 1997) (“Courts give

     12    deference to directors' decisions reached by a proper process, and do

     13    not apply an objective reasonableness test in such a case to examine

     14    the wisdom of the decision itself.”).

     15          The Delaware Court of Chancery described the business judgment

     16    rule as having three elements: “a threshold review of the objective

     17    financial interests of the board whose decision is under attack (i.e.,

     18    independence), a review of the board's subjective motivation (i.e.,

     19    good faith), and an objective review of the process by which it

     20    reached the decision under review (i.e., due care).” Delaware Law of

     21    Corporations, Fiduciary Duties § 4.19 fn. 1091, citing In re RJR

     22    Nabisco, Inc. S'holders Litig., No. 10389, 1989 WL 7036, at *1156

     23    (Del. Ch. Jan. 31, 1989).

     24          The business judgment rule operates as a “procedural guide” and

     25    “a substantive rule of law.” Citron v. Fairchild Camera & Instrument

     26    Corp., 569 A.2d 53, 64 (Del. 1989).     Among its procedural aspects is

     27    the presumption that the directors have acted properly, placing the

     28    burden of proof on the plaintiff.     “The burden falls upon the
                                                 23
Filed 12/15/20                           Case 20-02093                               Doc 76



      1    proponent of a claim to rebut the presumption by introducing evidence

      2    either of director self-interest, if not self-dealing, or that the

      3    directors either lacked good faith or failed to exercise due care.”

      4    Id.

      5          Finally, only limited persons have standing to prosecute a claim

      6    for breach of fiduciary duty against a corporate director.

      7    Ordinarily, those rights belong exclusively to the corporation and its

      8    shareholders.   Guth v. Loft, 5 A.2d 503, 510 (Del.1939); Malone v.

      9    Brincat, 722 A.2d 5, 10 (Del.1998).    Shareholders may act only

     10    derivatively.   As the Supreme Court of Delaware explained:

     11          It is well established that the directors owe their
                 fiduciary obligations to the corporation and its
     12          shareholders. While shareholders rely on directors acting
                 as fiduciaries to protect their interests, creditors are
     13          afforded protection through contractual agreements, fraud
                 and fraudulent conveyance law, implied covenants of good
     14          faith and fair dealing, bankruptcy law, general commercial
                 law and other sources of creditor rights. Delaware courts
     15          have traditionally been reluctant to expand existing
                 fiduciary duties. Accordingly, “the general rule is that
     16          directors do not owe creditors duties beyond the relevant
                 contractual terms.”
     17

     18    N. Am. Catholic Educ. Programming Found., Inc. v. Gheewalla, 930 A.2d

     19    92, 99 (Del. 2007).   As a consequence, the directors of solvent

     20    corporations are wholly protected against actions, direct or indirect,

     21    by aggrieved creditors.

     22          Corporations that are not yet insolvent but are in financial

     23    jeopardy are referred to as “within the zone of insolvency.”       Like

     24    solvent corporations, creditors hold no right of action for breach of

     25    fiduciary duties against directors for corporations operating within

     26    the zone of insolvency.   Id.; Quadrant Structured Products Co., Ltd.

     27    v. Vertin, 115 A.3d 535, 546 (Del. Ch. 2015).

     28          By contrast, the creditors of “insolvent” corporations do hold a
                                                 24
Filed 12/15/20                             Case 20-02093                             Doc 76



      1    derivative action against the corporation and, by extension, its

      2    directors, under the “so-called trust fund doctrine.”    Balotti &

      3    Finkelstein, supra, at § 5.2.    Insolvency is measured on the date the

      4    action is filed, Quadrant Structured Products, 115 A.3d at 543-556,

      5    and will be adjudged by the balance sheet test (“deficiency of assets

      6    below liabilities”), Gheewalla, 930 A.2d at 98, citing Production Res.

      7    Group v. NCT Group, Inc., 863 A.2d 772, 782 (Del.Ch. 2004); Geyer v.

      8    Ingersoll Publ'ns Co., 621 A.2d 784, 789 (Del.Ch. 1992); McDonald v.

      9    Williams, 174 U.S. 397, 403 (1899), or by the cash flow test (“an

     10    inability to meet maturing obligations as they fall due in the

     11    ordinary course of business”).    Gheewalla, 930 A.2d at 98, citing

     12    Production Res. Group v. NCT Group, Inc., 863 A.2d 772, 782 (Del. Ch.

     13    2004).

     14          A creditor’s right to pursue an action against directors is best

     15    described by the Delaware Supreme Court:

     16          When a corporation is solvent, those duties may be enforced
                 by its shareholders, who have standing to bring derivative
     17          actions on behalf of the corporation because they are the
                 ultimate beneficiaries of the corporation's growth and
     18          increased value. When a corporation is insolvent, however,
                 its creditors take the place of the shareholders as the
     19          residual beneficiaries of any increase in value.
     20          Consequently, the creditors of an insolvent corporation
                 have standing to maintain derivative claims against
     21          directors on behalf of the corporation for breaches of
                 fiduciary duties. The corporation's insolvency makes the
     22          creditors the principal constituency injured by any
                 fiduciary breaches that diminish the firm's value.
     23          Therefore, equitable considerations give creditors standing
                 to pursue derivative claims against the directors of an
     24          insolvent corporation. Individual creditors of an insolvent
                 corporation have the same incentive to pursue valid
     25          derivative claims on its behalf that shareholders have when
                 the corporation is solvent.
     26

     27    Gheewalla, 930 A.2d at 98 (emphasis added); see also Quadrant

     28    Structured Products, 115 A.3d at 546-47 (“[Directors] continue to owe
                                                 25
Filed 12/15/20                             Case 20-02093                              Doc 76



      1    fiduciary duties to the corporation for the benefit of all of its

      2    residual claimants, a category which now includes creditors.”).

      3               3.   Plausibility
      4          As applied here, plausibility requires trustee Husted to make a

      5    three-part factual showing: standing, i.e., that ECS was insolvent at

      6    the time the adversary proceeding was commenced; inapplicability of

      7    the business judgment rule, i.e., fraud, bad faith or self-dealing;

      8    and breach of fiduciary duty.    She has done so.

      9          Plaintiff Husted has standing to assert derivative claims for

     10    breach of fiduciary duties.    As of the date of Husted’s adversary

     11    proceeding ECS was a Chapter 7 debtor and was not paying its bills in

     12    the ordinary course.   Geyer v. Ingersoll Publication Co., 621 A.2d 784

     13    789 (Del. Ch. 1991) (cash flow test); 11 U.S.C. §§ 704(a)(9), 726;

     14    Fed. R. Bankr. P. 5009(a) (contemplating distribution after full

     15    administration of the case).    Moreover, courts have long recognized

     16    the authority of Chapter 7 trustees to assert derivative claims for

     17    breach of fiduciary duty against members of the board of directors of

     18    a corporate debtor.    Bovay v. H.M. Byllesby & Co., 38 A.2d 808 (Del.

     19    1944); Trenwick Am. Litig. Trust v. Ernst & Young, L.L.P., 906 A.2d

     20    168, 189 (Del. Ch. 2011) (litigation trust); In re USDigital, Inc.,

     21    443 B.R. 22, 43 (Bankr. D. Del. 2011) (Chapter 7 trustee); In re Scott

     22    Acquisition Corp., 344 B.R. 283, 290 (Bankr. D. Del. 2006).    As a

     23    result, Husted has standing to pursue this claim.

     24          The business judgment rule does not bar this action.    While that

     25    rule assumes appropriate conduct by the board of directors, that

     26    presumption may be rebutted by pleading facts that show self-interest,

     27    self-dealing, lack of good faith or the failure of due care.    Citron

     28    v. Fairchild Camera & Instrument Corp., 569 A.2d 53, 64 (Del. 1989).
                                                 26
Filed 12/15/20                             Case 20-02093                                Doc 76



      1    Here, the trustee has plead facts from which the inference of self-

      2    dealing or the lack of good faith might be inferred.     Those facts

      3    include: increased rental payments to the Insider Entity Defendants;

      4    the cessation of operations to reduce cash flow and receivables, an

      5    expressed desire to “put the screws to Summit[Bridge]”; and the

      6    failure to disclose to creditors the Taggarts’ ownership of Butch and

      7    Sundance, LLC, the proposed post-petition lender.     As a result, the

      8    trustee has plead around the business judgment rule.

      9          Finally, plaintiff Husted has plead plausible claims for breach

     10    of the duty of care and of loyalty.     Fed R. Civ. P. 10(b) (allowing

     11    aggregating theories in a single count), incorporated by Fed. Bankr.

     12    P. 7010.

     13          Husted’s first theory is that Taggarts engaged in bad faith acts

     14    that deepened ECS’s insolvency.     Delaware law does not recognize “an

     15    independent cause of action for deepening insolvency.”     Trenwick Am.

     16    Litig. Trust v. Ernst & Young, L.L.P., 906 A.2d 168, 205 (2006);

     17    Quadrant Structured Products Co., Ltd., 115 A.3d at 547 (“Directors

     18    cannot be held liable for continuing to operate an insolvent entity in

     19    the good faith belief that they may achieve profitability...”).        But

     20    Delaware does require that a director’s actions be undertaken in “good

     21    faith.”    Id.   A court may infer the lack of good faith where a

     22    director “intentionally acts with a purpose other than advancing the

     23    best interests of the corporation.”     In re Walt Disney Co. Derivative

     24    Litig., 906 A.2d 27, 67 (Del. 2006).     Moreover, Trenwick specifically

     25    reserved to the corporation--and by extension, creditors--breach of

     26    fiduciary duty claims where the board of directors acted in a way that

     27    made the corporation’s situation more dire:

     28          The rejection of an independent cause of action for
                                               27
Filed 12/15/20                             Case 20-02093                                Doc 76



      1          deepening insolvency does not absolve directors of
                 insolvent corporations of responsibility. Rather, it remits
      2          plaintiffs to the contents of their traditional toolkit,
                 which contains, among other things, causes of action for
      3          breach of fiduciary duty and for fraud.

      4    Trenwick, 906 A.2d at 205.

      5          Here, the plaintiff has plead facts from which a plausible claim

      6    for breach of the fiduciary duty of due care that resulted in ECS’s

      7    still deeper insolvency.     Decisions by the board of directors are

      8    reviewed under a “gross negligence” standard.        Stone v. Ritter, 911

      9    A.2d 362, 369 (Del. 2006); Brehm v. Eisner, 746 A.2d 244, 259 (Del.

     10    2000).   Gross negligence means “reckless indifference to or a

     11    deliberate disregard of the whole body of stockholders [here,

     12    creditors] or actions that are without of the bounds of reason.”

     13    Tomczak v. Morton Thiokol, No. 7861, 1990 WL 42607, at *12 (Del. Ch.

     14    April 5, 1990).    The Taggarts deliberately weakened ECS’s financial

     15    condition to force concessions from SummitBridge.       Two inferences are

     16    possible.   One inference is that the Taggarts’ actions designed to

     17    tame an unruly secured creditor were, in fact, in the best interests

     18    of unsecured creditors.    The other inference was the weakening

     19    strategy is employed without due consideration of its impact on

     20    unsecured creditors.    Given the use of a counterintuitive strategy,

     21    i.e., weakening an already frail corporation, and self-dealing,

     22    Trenwick Am. Litig. Trust, 906 A.2d at 205 (requiring good faith in

     23    the exercise of due diligence), the court infers reckless indifference

     24    to the interests of unsecured creditors.        Morton Thiokol, 1990 WL

     25    42607, at *12.    Moreover, in deciding a Rule 12(b)(6) motion the court

     26    should not weigh competing inferences in deciding the plausibility of

     27    well-plead facts, unless one inference is so strong as to constitute

     28    an obvious alterative explanation.     Marcus & Millichap Co., 751 F.3d
                                                 28
Filed 12/15/20                            Case 20-02093                                Doc 76



      1    at 996.   In light of actions specifically contrary to the corporate

      2    best interests that benefitted the Taggarts personally, the court will

      3    not find the existence of an obvious alternative explanation.

      4          Husted’s second theory is that the Taggarts’ breached their duty

      5    of loyalty by attempting to improve their position as equity holders

      6    vis-à-vis unsecured creditors.    In this instance, unsecured creditors

      7    were harmed by decreasing the availability of unencumbered assets

      8    available to pay unsecured creditors, Emergency Ex Parte Mot. for

      9    Order Authorizing Post-Petition Financing 2:28-4:6, In re ECS

     10    Refining, Inc., No. 2018-22453 (Bankr. E.D. Cal. April 24, 2018), ECF

     11    No. 12, and by increasing the pool of unsecured creditors by $21.69

     12    million, 11 U.S.C. § 506(a), (d).

     13          Butch and Sundance, LLC’s lien survives dismissal of the case.

     14    11 U.S.C. § 349(b); see also, Production Credit Ass’n of the Midlands

     15    v. Farm & Town Indus., Inc., 518 N.W.2d 339, 343 (Iowa 1994).     It also

     16    survives conversion to Chapter 7 and is not assailable by the Chapter

     17    7 trustee.    11 U.S.C. §§ 348(d), 364(c), (e), 549(a) (limiting the

     18    trustee’s ability to attack post-petition transactions); Cf. Sapir v.

     19    C.P.Q. Colorchrome Corp. (In re Photo Promotion Assoc., Inc.), 881

     20    F.2d 6, 8 (2nd Cir. 1989) (trustee entitled to recover under § 549(a)

     21    funds paid by the debtor to a trade creditor where § 364(c)

     22    authorization not obtained); Terry Oilfield Supply Co., Inc. v.

     23    American Security Bank, N.A., 195 B.R. 66, 72 (S.D. TX 1996)

     24    (exception transactions approved under §§ 303(f) and 542(c), post-

     25    petition transactions approved by the court are not subject to §549(a)

     26    avoidance).   It also gave Butch & Sundance, LLC, a better right to

     27    ECS’s assets, at least to the extent of the lien.   Hartford

     28    Underwriters Ins. Co. v. Union Planters Bank, N.A., 530 U.S. 1, 4-5
                                                29
Filed 12/15/20                            Case 20-02093                                 Doc 76



      1    (2000) (wholly encumbered assets may not be used to pay administrative

      2    claims); In re KVN Corp., Inc., 514 BR 1, 5-6 (9th Cir. BAP 2014)

      3    (fully encumbered assets should be abandoned); In re Traverse, 753

      4    F.3d 19, 25-26 (1st Cir. 2014).    If the case did not dismiss or

      5    convert but continued in Chapter 11 it reduced the minimum amount due

      6    unsecured creditors.    11 U.S.C. § 1129(a)(7)(A)(ii) (best interests

      7    test).

      8            Moreover, if the Chapter 11 continued to contested plan

      9    confirmation the Taggarts’ actions have increased their ability to

     10    cramdown the plan at the expense of unsecured creditors.     The primary

     11    impediment to nonconsensual plan confirmation is the absolute priority

     12    rule.    Northern Pac. R.R. Co. v. Boyd, 228 U.S. 482, 504 (1913);

     13    Caplin v. Marine Midland Grace Trust Co. of New York, 406, U.S. 416,

     14    436 fn. 2 (1972) (Douglas, J. dissenting).     It is codified at 11

     15    U.S.C. § 1129(b) and provides that the court may confirm a plan over

     16    objection of a creditor if “the plan does not discriminate unfairly,

     17    and is fair and equitable, with respect to each class of claims or

     18    interests that is impaired under, and has not accepted, the plan.”

     19    “[D]iscriminate unfairly” is a “horizontal comparative assessment”

     20    that determines whether other similarly situated creditors are

     21    inappropriately advantaged vis-à-vis the nonaccepting class; “fair and

     22    equitable” is a vertical measurement that “regulates priority among

     23    classes of creditors having higher and lower priority for payment.      In

     24    re Tribune Co., 972 F.3d 228, 232 (3d Cir. 2020), quoting Bruce A.

     25    Markell, A New Perspective on Unfair Discrimination in Chapter 11, 72

     26    Am. Bankr. L.J. 227, 227-28 (1998).    Fair and equitable means that all

     27    senior classes of creditors, e.g., unsecured creditors, must be paid

     28    in full before any junior class may receive or retain any property
                                                 30
Filed 12/15/20                             Case 20-02093                              Doc 76



      1    under the plan.    Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 202

      2    (1988); Carson Nugget, Inc. v. Green (In re Green), 98 B.R. 981, 982

      3    (9th Cir. BAP 1989).

      4            The “new value” rule is an exception to the absolute priority

      5    rule.    It allows equity holders to retain their interest to the extent

      6    that they contribute new value to the estate, even though senior

      7    classes are not paid in full. In re Bonner Mall P’ship, 2 F.3d 899,

      8    906 (9th Cir. 1993), abrogated on other grounds by Bullard v. Blue

      9    Hills Bank, 575 U.S. 496 (2015); In re Coltex Loop Central Three

     10    Partners, L.P., 138 F.3d 39, 46 (2nd Cir. 1998)); In re U.S. Truck

     11    Co., Inc., 800 F.2d 581, 588, 590 (6th Cir. 1986).    The new value

     12    contributed must be reasonably equivalent to the interest received or

     13    the property retained.    In re Ambanc La Mesa Ltd. P’ship, 115 F.3d

     14    650, 654-656 (9th Cir. 1997).    That value, in this case ECS’s stock,

     15    is generally determined by the “going concern” value, Consolidated

     16    Rock Products Co. v. Du Bois, 312 U.S. 510, 525-26 (1941), and is

     17    based on the estimated future earnings discounted to present value.

     18    In re Muskegon Motor Specialties, 366 F.2d 522, 525 (6th Cir. 1966).

     19    The simple point is that reducing pre-petition earnings and

     20    profitability, even in the few months before filing, will reduce the

     21    new value payment necessary to force non-consensual plan confirmation.

     22            These facts give rise to an inference that the Taggarts

     23    intentionally sought to advance a purpose other than the best

     24    interests of “all residual claimants, a category which now includes

     25    creditors”.    Quadrant Structed Products Co., Ltd. v. Vertin 115 A.3d

     26    at 546-47.    As a result, trustee Husted has stated a plausible claim

     27    for breach of fiduciary duty, i.e., due care and loyalty.

     28
                                                 31
Filed 12/15/20                            Case 20-02093                                Doc 76



      1               4.     Full protection Under 8 Delaware Code § 141(e)

      2          Delaware law provides directors who rely on appropriate

      3    professional advice a safe harbor.

      4          A member of the board of directors, or a member of any
                 committee designated by the board of directors, shall, in
      5          the performance of such member's duties, be fully protected
                 in relying in good faith upon the records of the
      6          corporation and upon such information, opinions, reports or
                 statements presented to the corporation by any of the
      7          corporation's officers or employees, or committees of the
                 board of directors, or by any other person as to matters
      8          the member reasonably believes are within such other
                 person's professional or expert competence and who has been
      9          selected with reasonable care by or on behalf of the
                 corporation.
     10

     11    8 Del. C. § 141(e) (emphasis added).

     12          As a rule, the protections of § 141(e) are an affirmative

     13    defense.   Manzo v. Rite Aid Corp., 2002 WL 31926606, at *3 n. 7 (Del.

     14    Ch. Dec. 19, 2002); Ogus v. SportTechie, Inc., 2020 WL 502996, at *14

     15    (Del. Ch. January 31, 2020).     Generally, an affirmative defense cannot

     16    be raised by a Rule 12(b)(6) motion.       Xechem, Inc. v. Bristol-Myers

     17    Squibb Co., 372 F.3d 899, 901 (7th Cir. 2004).      But where the

     18    allegations of the complaint disclose a bar to the action, i.e.,

     19    affirmative defense, the issue may be raised by motion.      Weisbuch v.

     20    County of Los Angeles, 119 F.3d 778, 783 fn. 1 (9th Cir. 1997);

     21    Hensley Mfg. v. ProPride, Inc., 579 F.3d 603, 613 (6th Cir. 2009); see

     22    also, Brehm v. Eisner, 746 A.2d 244, 262 (Del. 2000) (applying the

     23    rule to 8 Del. C. § 141(e)).

     24          Here, the facts give rise to an inference that Taggarts’ actions

     25    fall outside the scope of § 141(e).    At least an inference of the lack

     26    of good faith reliance exists.    First Am. Compl. 14:22-27 (“a great

     27    way to put the screws to [SummitBridge]”), 16:13-16 (cessation of

     28    operations).    The complaint contains no allegations that the
                                                 32
Filed 12/15/20                           Case 20-02093                               Doc 76



      1    Professional Advisors were “selected with reasonable care.”    Nor is

      2    there indication that the Professional Advisors were acting “by or on

      3    behalf of the corporation,” as opposed to Taggarts personally.     As a

      4    result, § 141(e) is not a basis to dismiss the First Amended

      5    Complaint.

      6                 5.   Exculpatory clauses in the Certificate of
                             Incorporation
      7

      8          Delaware law allows a corporation’s Certificate of Incorporation

      9    to exculpate directors from a broad spectrum of liabilities.

     10          In addition to the matters required to be set forth in the
                 certificate of incorporation by subsection (a) of this
     11          section, the certificate of incorporation may also contain
                 any or all of the following matters:
     12
                 ...
     13
                 A provision eliminating or limiting the personal liability
     14          of a director to the corporation or its stockholders for
                 monetary damages for breach of fiduciary duty as a
     15          director, provided that such provision shall not eliminate
                 or limit the liability of a director: (i) For any breach of
     16          the director's duty of loyalty to the corporation or its
                 stockholders; (ii) for acts or omissions not in good faith
     17          or which involve intentional misconduct or a knowing
                 violation of law; (iii) under § 174 of this title; or (iv)
     18          for any transaction from which the director derived an
                 improper personal benefit.
     19

     20    Del. Code Ann. tit. 8, § 102(b)(7) (2020) (emphasis added).

     21          ECS’s Certificate of Incorporation provides:

     22          To the fullest extent permitted by the [General Corporation
                 Law of Delaware] as the same exists or may hereafter be
     23          amended, a director of this Corporation shall not be
                 personally liable to the Corporation or its stockholders
     24          for money damages for breach of fiduciary duty as a
                 director, provided that this Article shall not eliminate or
     25          limit the liability of a director for (i) any breach of the
                 director’s duty of loyalty to the Corporation or its
     26          stockholders; (ii) acts or omissions not in good faith or
                 which involve intentional misconduct or a knowing violation
     27          of the law, (iii) under section 174 of the [General
                 Corporation Law of Delaware], or (iv) for any transaction
     28          from which the director derived an improper personal
                                               33
Filed 12/15/20                           Case 20-02093                                Doc 76



      1          benefit.

      2    Certificate of Incorporation, Ninth Article. 8

      3          Plaintiff Husted’s First Amended Complaint pleads plausible

      4    claims for (1) breach of the duty of due care, i.e., bad faith

      5    deepening insolvency; and (2) breach of the duty of loyalty, i.e.,

      6    self-dealing arising from Taggarts’ efforts to better their personal

      7    interest in the Chapter 11 process at the expense of creditors.     For

      8    the purposes of pleading, the former falls within the lack of good

      9    faith and/or improper personal benefit exceptions,

     10    § 102(b)(7)(ii),(iv); the latter is excepted as under the duty of

     11    loyalty exception, § 1207(b)(7)(ii).

     12          As to the first count, the motion will be denied.

     13          B.   Second Cause of Action: Corporate Waste

     14          Plaintiff Husted alleges that “[t]he excessive [insider]

     15    commercial leases...unjustifiably high-cost payroll, and management

     16    decisions leading to cash consumption, inventory segregation, and the

     17    suspension of processing inventory” gives rise to a cause of action

     18    for corporate waste against the Taggarts.     First Am. Compl. 25:12-17.

     19          Like actions against directors for breach of fiduciary duty,

     20    actions for waste are governed by the internal affairs doctrine and

     21    the law of the state of incorporation provides the rule of decision.

     22    In re Verisign, Inc., Derivative Litig., 531 F. Supp. 2d 1173, 1215

     23    (N.D. Cal. 2007) (finding claims for waste as implicating the Internal

     24    Affairs Doctrine); Symington v. Guillen, No. LACV1509809JAKPJWX, 2016

     25    WL 7486603, at *8 (C.D. Cal. June 30, 2016).     As a result, Delaware

     26
           8 For the purposes of this motion the court assumes that ECS’s
     27    Certificate of Incorporation is a document incorporated by reference
           in the complaint. United States v. Ritchie, 342 F.3d 903, 908 (9th
     28    Cir. 2003).
                                               34
Filed 12/15/20                          Case 20-02093                                     Doc 76



      1    law provides the rule of decision.

      2          Moreover, in limited circumstances, Delaware law does recognize a

      3    cause of action for corporate waste.      Any action for waste will lie

      4    where the plaintiff proves “that the exchange was ‘so one sided that

      5    no [businessperson] of ordinary, sound judgment could conclude that

      6    the corporation has received adequate consideration.”     In re Walt

      7    Disney Co. Derivative Litig., 906 A.2d 27, 74 (Del. 2006).        Waste will

      8    only be found in the “rare, ‘unconscionable case where directors

      9    irrationally squander or give away corporate assets.”     Id.     This

     10    onerous standard for waste is a corollary of the proposition that

     11    where business judgment presumptions are applicable, the board's

     12    decision will be upheld unless it cannot be “attributed to any

     13    rational business purpose.” Id.

     14          Moreover, Delaware courts have thoughtfully defined the contours

     15    of corporate waste:

     16          Roughly, a waste entails an exchange of corporate assets
                 for consideration so disproportionately small as to lie
     17          beyond the range at which any reasonable person might be
                 willing to trade. Most often the claim is associated with a
     18          transfer of corporate assets that serves no corporate
                 purpose; or for which no consideration at all is received.
     19          Such a transfer is in effect a gift. If, however, there is
                 any substantial consideration received by the corporation,
     20          and if there is a good faith judgment that in the
                 circumstances the transaction is worthwhile, there should
     21          be no finding of waste, even if the fact finder would
                 conclude ex post that the transaction was unreasonably
     22          risky....
     23    Brehm v. Eisner, 746 A.2d 244, 263 (Del. 2000) (emphasis added).

     24          As the Supreme Court of Delaware has articulated the doctrine of

     25    waste, “a corporate waste claim must fail if ‘there is any substantial

     26    consideration received by the corporation and...there is a good faith

     27    judgment that in the circumstances the transaction is worthwhile’.”

     28    White v. Panic, 783 A.2d 543, 554 (Del. 2001).      Substantial
                                                35
Filed 12/15/20                              Case 20-02093                                 Doc 76



      1    consideration and good faith must each exist to bring the directors’

      2    actions within the business judgment rule and, therefore, bar an

      3    action for waste.     Id.

      4           Plaintiff Husted has stated a plausible claim for waste.    The

      5    absence of substantial consideration received by the corporation and

      6    the lack of good faith may form the basis of an action for waste.        The

      7    allegations of intentional weakening and self-dealing, i.e., Butch and

      8    Sundance, LLC, loan sans full disclosure properly make plausible a

      9    finding of lack of substantial consideration and/or lack of good

     10    faith.      As a result, the three part scheme aimed at SummitBridge also

     11    provides sufficient inferences to support an action for waste,

     12    sufficient to defeat a Rule 12(b)(6) motion.

     13           As to the second count, the motion will be denied.

     14           C.     Third Cause of Action: Preferential Transfers
     15           Plaintiff Husted asserts a preference action against All Metals,

     16    Inc.

     17           Preferential transfers exist as creatures of statute:

     18           Except as provided in subsections (c) and (i) of this
                  section, the trustee may, based on reasonable due diligence
     19           in the circumstances of the case and taking into account a
                  party’s known or reasonably knowable affirmative defenses
     20           under subsection (c), avoid any transfer of an interest of
                  the debtor in property—-
     21
                  (1) to or for the benefit of a creditor;
     22
                  (2) for or on account of an antecedent debt owed by the
     23           debtor before such transfer was made;
     24           (3) made while the debtor was insolvent;
     25           (4) made--
     26                 (A) on or within 90 days before the date of the filing
                        of the petition; or
     27
                        (B) between ninety days and one year before the date of
     28                 the filing of the petition, if such creditor at the
                                                  36
Filed 12/15/20                            Case 20-02093                                Doc 76



      1              time of such transfer was an insider; and

      2          (5) that enables such creditor to receive more than such
                 creditor would receive if--
      3
                     (A) the case were a case under chapter 7 of this title;
      4
                     (B) the transfer had not been made; and
      5
                     (C) such creditor received payment of such debt to the
      6              extent provided by the provisions of this title.

      7    11 U.S.C. § 547(b) (emphasis added).

      8          Plaintiff Husted’s third count predominantly pleads legal

      9    conclusions.    But it does include the following facts: (1) All Metals,

     10    Inc., leased space to ECS “for its recycling operations,” First Am.

     11    Compl. 5:1-4; 9 (2) All Metals, Inc., was an insider, Id.; (3) within

     12    one year before the bankruptcy ECS made payments to All Metals on

     13    account of “invoice[s],” Id.      26:11-16; and (4) those payments were

     14    made on the following dates and in the following amounts, (A) August

     15    31, 2017-$400,000; (B) September 19, 2017-$300,000; and (C) November

     16    28, 2017-$490,000.    Exhibits to First Am. Compl. 8, ECF No. 30.

     17               1.     Due diligence

     18          A conditions precedent is a “statutory prerequisite[] to

     19    litigation.”    5 Arthur R. Miller et al., Federal Practice and

     20    Procedure § 1303 (4th ed.).    Section 547(b) now requires that the

     21    trustee satisfy a condition precedent, i.e., reasonable due diligence

     22    and consideration of known or knowable affirmative defenses.      Small

     23    Business Reorganization Act of 2019, Pub. L. No. 116-54 § 3(a),

     24    effective February 19, 2020.      “[T]he trustee may, based on reasonable

     25    due diligence in the circumstances of the case and taking into account

     26    a party’s known or reasonably knowable affirmative defenses under

     27    9 The court cannot ascertain whether the payments were on account of
           rent, First Am. Compl. 26:5-7, 14-16, or goods and/or services
     28    rendered, Id. at 26:5-7.
                                                  37
Filed 12/15/20                           Case 20-02093                               Doc 76



      1    subsection (c), avoid any transfer....”     11 U.S.C. § 547(b).    This

      2    condition precedent has three discrete subparts, which the trustee, or

      3    someone acting on her behalf, must undertake prior to the commencement

      4    of a preference action: (1) reasonable due diligence under “the

      5    circumstances of the case”; (2) consideration as to whether a prima

      6    facie case for a preference action may be stated; and (3) review of

      7    the known or “reasonably knowable” affirmative defenses that the

      8    prospective defendant may interpose.     11 U.S.C. § 547(b).

      9          This court believes that this condition precedent, i.e., due

     10    diligence and consideration of affirmative defenses, is an element of

     11    the trustee’s prima facie case.   11 U.S.C. § 547.    As a rule,

     12    conditions precedent, or the lack thereof, may defeat jurisdiction,

     13    Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428, 436 (2011) (the

     14    failure of a condition precedent only deprives federal courts of

     15    jurisdiction where there is “clear indication that Congress wanted the

     16    rule to be jurisdictional”); see also U.S. E.E.O.C. v. Farmers Ins.

     17    Co., 24 F.Supp.3d 956, 962–63 (E.D. Cal. 2014); serve as an element of

     18    the prima facie case, Walton v. Nalco Chemical Co., 272 F.3d 13, 21 n.

     19    11 (1st Cir. 2001) (conditions precedents that are elements are those

     20    that preclude a finding for the plaintiff); U.S. ex rel. Krol v. Arch

     21    Ins. Co., 46 F.Supp.3d 347, 356 (S.D. NY 2014) (exhaustion of

     22    administrative remedies under Miller Act treated as an element);

     23    Pacific Dental Services, LLC v. Homeland Ins. Co. of New York, 2013 WL

     24    3776337, *4 (C.D. Cal. 2013) (contract claim); or constitute an

     25    affirmative defense, Albino v. Baca, 747 F.3d 1162, 1168-69 (9th Cir.

     26    2014).   The effect of § 547(b)’s due diligence requirement has not

     27    been resolved.   Harker v. Cummings (In re GYPC, Inc.), 2020 Bankr.

     28    LEXIS 2384, *25 (Bankr. S.D. Ohio, August 4, 2020) (denying Rule
                                               38
Filed 12/15/20                           Case 20-02093                                 Doc 76



      1    12(b)(6) motion without analysis); 5 Collier on Bankruptcy at ¶

      2    547.02A (describing due diligence as an element or a condition

      3    precedent).

      4          The Supreme Court has provided guidance in determining whether a

      5    condition precedent is an element or an affirmative defense.     In Jones

      6    v. Bock, 549 U.S. 199, 212-217 (2007), the court considered whether

      7    the prison grievance procedures contained in the Prison Litigation

      8    Reform Act of 1995 are “a pleading requirement the prisoner must

      9    satisfy in his complaint or an affirmative defense the defendant must

     10    plead and prove.”   As the court explained, prison litigation

     11    “account[s] for an outsized share of filings in federal district

     12    courts.”   Often, incarcerated persons bring actions under 42 U.S.C. §

     13    1983 for wrongs, perceived or actual, arising from the conditions

     14    associated with their confinement.   In response, Congress enacted the

     15    Prison Reform Act of 1995.   42 U.S.C. § 1997e.   Among the reforms

     16    contained in that statute were mandatory early judicial screening of

     17    prisoner complaints and a requirement that incarcerated persons

     18    exhaust prison grievance procedures before filing suit.    The

     19    requirement of exhausting grievance procedures states:

     20          No action shall be brought with respect to prison
                 conditions under section 1983 or any other Federal law, by
     21          a prisoner confined in any jail, prison or other
                 correctional facility until such administrative remedies as
     22          are available are exhausted.
     23    42 U.S.C. § 1997e(a).

     24          The Prison Reform Litigation Act also gave courts sua sponte

     25    powers to dismiss prisoner cases in some circumstances:

     26          The court shall on its own motion or on the motion of a
                 party dismiss any action brought with respect to prison
     27          conditions under section 1983 of this title, or any other
                 Federal law, by a prisoner confined in any jail, prison, or
     28          other correctional facility if the court is satisfied that
                                               39
Filed 12/15/20                           Case 20-02093                                 Doc 76



      1          the action is frivolous, malicious, fails to state a claim
                 upon which relief can be granted, or seeks monetary relief
      2          from a defendant who is immune from such relief.

      3
           42 U.S.C. § 1997e(c)(1) (emphasis added).
      4
                 As the Supreme Court articulated the issue before it:
      5
                 There is no question that exhaustion is mandatory under the
      6          [Prison Litigation Reform Act] and that unexhausted claims
                 cannot be brought in court. What is less clear is whether
      7          it falls to the prisoner to plead and demonstrate
                 exhaustion in the complaint, or to the defendant to raise
      8          lack of exhaustion as an affirmative defense.

      9    Jones, 549 U.S. at 211 (emphasis added) (citations omitted).

     10    A circuit split developed with respect to the pleading requirements

     11    applicable to the Prison Litigation Reform Act.    The Sixth Circuit

     12    “adopted several procedural rules designed to implement this

     13    exhaustion requirement and facilitate early judicial screening.     These

     14    rules require a prisoner to allege and demonstrate exhaustion in this

     15    complaint...and require courts to dismiss the entire action” if

     16    exhaustion had not been fully demonstrated in the complaint.    Other

     17    circuits declined to adopt those rules and treated the failure to

     18    exhaust prison grievances as an affirmative defense that must be

     19    raised in the answer, Fed. R. Civ. P. 8(c).    The Supreme Court granted

     20    certiorari.   In resolving the issue, the Supreme Court noted the

     21    Prison Reform Act of 1995 was “silent on the issue whether exhaustion

     22    must be pleaded by the plaintiff or is an affirmative defense.”     In

     23    deciding whether exhaustion of administrative remedies was, in fact,

     24    an affirmative defense, the Supreme Court focused on three things.

     25    First, it noted that “the [Prison Litigation Reform Act] itself is not

     26    a source of a prisoner’s claim; claims covered by the [Prison

     27    Litigation Reform Act] are typically brought under 42 U.S.C. § 1983,

     28    which does not require exhaustion at all.”    Second, the parties to the
                                               40
Filed 12/15/20                             Case 20-02093                              Doc 76



      1    action did not dispute characterization of the grievance process as an

      2    affirmative defense.     Third, historically, exhaustion of

      3    administrative remedies has been regarded as an affirmative defense.

      4    Finally, the court observed,

      5          The [Prison Litigation Reform Act] dealt extensively with
                 the subject of exhaustion, see 42 U.S.C. §§ 1997e(a),
      6          (c)(2), but is silent on the issue whether exhaustion must
                 be pleaded by the plaintiff or is an affirmative defense.
      7          This is strong evidence that the usual practice should be
                 followed, and the usual practice under the Federal Rules is
      8          to regard exhaustion as an affirmative defense.
      9    Jones, 549 at 212.

     10    Once the court concluded that exhaustion of administrative remedies

     11    was an affirmative defense, the Supreme Court had little difficulty in

     12    deciding that a prisoner need not plead satisfaction of the condition

     13    precedent to avoid the sua sponte dismissal provisions of the Prison

     14    Litigation Reform Act.    42 U.S.C. § 1997e(c).

     15          Jones provides a roadmap for consideration of the Small Business

     16    Reorganization Act’s amendments to § 547(b).      Like the Prison

     17    Litigation Reform Act, amended § 547(b) is silent on whether

     18    satisfaction of the condition precedent is an element or an

     19    affirmative defense and on whether satisfaction is a pleading

     20    requirement.

     21          But that is where the Small Business Reorganization Act of 2019

     22    amendments to § 547(b) and the Prison Litigation Reform Act of 1995

     23    part company.   At least two significant differences exist.     First, §

     24    547(b) is the source of the trustee’s substantive rights.     It defines

     25    those transactions that the trustee may avoid as preferential.

     26    Waldschmidt v. Ranier (In re Fulghum Construction Corp.), 706 F.2d 171

     27    (6th Cir. 1983) (“[p]referential transfers which may be avoided by the

     28    trustee are defined in 11 U.S.C. § 547(b)...”); Levit v. Ingersoll
                                                 41
Filed 12/15/20                               Case 20-02093                               Doc 76



      1    Rand Financial Corp., 874 F.2d 1186, 1194 (7th Cir. 1989) (“[s]ection

      2    547(b) defines which transfers are ‘avoidable’”).      When the

      3    legislature elects to define a term, that definition is binding on the

      4    courts.     Sturgeon v. Frost, 139 S.Ct. 1066 (2019); Digital Realty

      5    Trust, Inc. v. Somers, 138 S.Ct. 767 (2018); United States v. Ron Pair

      6    Enters., Inc., 489 U.S. 235, 242 (1989) (plain language of a statute

      7    controls).     In contrast, the Prison Litigation Reform Act merely

      8    provided a procedural overlay to existing statutory rights, e.g., 42

      9    U.S.C. § 1983, and applies to any action “with respect to prison

     10    conditions under section 1983 of this title, or any other Federal

     11    law.”     42 U.S.C. § 1997e(a).   In part, Jones based its holding on the

     12    fact that “[t]he [Prison Litigation Reform Act] itself is not a source

     13    of a prisoner’s claims; claims covered by the [Prison Litigation

     14    Reform Act] are typically brought under 42 U.S.C. § 1983, which does

     15    not require exhaustion at all.”      Jones, 549 U.S. at 212.   As a result,

     16    a legislative decision to include due diligence in the definition of

     17    avoidable preferences undercuts one of the central pillars articulated

     18    for the holding in Jones.

     19            Second, unlike the Prison Litigation Reform Act (which is silent

     20    on the issue), § 547 expressly requires that the trustee affirmatively

     21    prove due diligence.     Ordinarily, facts that the plaintiff must prove

     22    at trial are elements of the prima facie case.      Flav-O-Rich Food

     23    Service, Inc. v. Rawson Food Service, Inc. (In re Rawson Food Services

     24    Inc.), 846 F.2d 1343 (11th Cir. 1988) (construing 11 U.S.C. § 546(c));

     25    Nayab v. Capital One Bank (USA), N.A., 942 F.3d 480, 493 (9th Cir.

     26    2019) (“who bears the ultimate burden of proof and/or persuasion is

     27    indicative of who bears the initial burden of pleading”); 5 Arthur R.

     28    Miller et al., Federal Practice and Procedure § 1271 n. 23 (3d ed.).
                                                   42
Filed 12/15/20                            Case 20-02093                               Doc 76



      1    Simply put, if the plaintiff bears the burden of proof of the fact at

      2    trial, in most instances it is an element; if the defendant bears the

      3    burden of proof at trial it is probably an affirmative defense.

      4    Moreover, “[a] defense which demonstrates that plaintiff has not met

      5    its burden of proof is not an affirmative defense.”   Zivkovic v. S.

      6    California Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002).

      7          Here, § 547(b) defines avoidable preferences; in contrast §

      8    547(c) offers preference defendants nine affirmative defenses with

      9    which they may resist the trustee’s effort to recover the offending

     10    transfer.   Enserv Co., Inc. v. Manpower, Inc. (In re Enserv Co.,

     11    Inc.), 64 B.R. 519, 521 (9th Cir. BAP 1986) (§ 547(c) is an exhaustive

     12    list of affirmative defenses), aff’d 813 F.2d 1230 Mar. 19, 1987); Ju

     13    v. Liu (In re Liu), 611 B.R. 864, 880 (9th Cir. BAP 2020).

     14          Congress has expressly allocated the burden of proof on the issue

     15    of due diligence under § 547(b) to the trustee.

     16          For the purposes of this section, the trustee has the
                 burden of proving the avoidability of a transfer under
     17          subsection (b) of this section, and the creditor or party
                 in interest against whom recovery or avoidance is sought
     18          has the burden of proving the nonavoidability of a transfer
                 under subsection (c) of this section.
     19

     20    11 U.S.C. § 547(g) (emphasis added).

     21          Finally, the court believes that treatment of the due diligence

     22    requirement as an element falls within the plain meaning rule.      As a

     23    consequence, that meaning controls unless “the literal application of

     24    a statute will produce a result demonstrably at odds with the

     25    intentions of its drafters.”   United States v. Ron Pair Enterprises,

     26    Inc., 489 U.S. 235, 242, (1989).   That is not the case here.    The

     27    Small Business Reorganization Act of 2019 made two changes to the

     28    preference actions by: (1) adding a “reasonable due diligence”
                                                43
Filed 12/15/20                           Case 20-02093                              Doc 76



      1    requirement, 11 U.S.C. § 547(b); and (2) expanding the venue

      2    protections for low dollar avoidance action defendants, 28 U.S.C. §

      3    1409 (raising the dollar limit for actions that must be filed in the

      4    defendant’s district of residence from $13,650 to $25,000).

      5    Legislative history does not explain the reason for these changes.

      6    But a fair reading of these amendments is that Congress sought to curb

      7    what it perceived as improper use of preference actions in some

      8    instances. 5 Collier on Bankruptcy ¶ 547.02A (Alan N. Resnick & Henry

      9    J. Sommer eds., 16th ed. 2020) (describing “preference mills,” which

     10    are law firms employed on a contingent basis, who file adversary

     11    proceedings for small dollar actions in districts other than the

     12    defendant’s residence with little--or no--evaluation of the merits,

     13    solely to force nuisance value settlements); see also American

     14    Bankruptcy Institute, Commission to Study the Reform of Chapter 11,

     15    148-151 (2014), https://abiworld.app.box.com/s/vvircv5xv83aavl4dp4h

     16    (documenting preference action abuse, i.e., failure of merits

     17    consideration before commencement of an action, and recommending

     18    curative provisions, i.e., adding a due diligence requirement,

     19    increasing the dollar limitation contained in the home district venue

     20    provisions of 28 U.S.C. § 140(b), and requiring particularity in

     21    preference pleadings).   This court believes that treatment of due

     22    diligence as an element of the prima facie case under § 547(b) is

     23    consistent, rather than at odds, with Congressional intent.

     24          Moreover, where applicable substantive law treats a condition

     25    precedent as an element of the prima facie case, rather than an

     26    affirmative defense, it must be plead.   Fed. R. Civ. P. 9(c),

     27    incorporated by Fed. R. Bankr. P. 7009; Walton v. Nalco Chem. Co., 272

     28    F.3d 13, 21 (1st Cir. 2001) (“Rule 9(c) governs not only contractual
                                               44
Filed 12/15/20                            Case 20-02093                                Doc 76



      1    conditions precedent, but statutory conditions precedent as well”);

      2    Pacific Dental Services, LLC v. Homeland Insurance Co. of New York,

      3    2013 WL 3776337, *4 (C.D. Cal. 2013) (applying California substantive

      4    law); see also, Iqbal, 556 U.S. at 679; Twombly, 550 U.S. at 556.

      5          Even so, § 547(b) requires only “reasonable due diligence.” The

      6    standard is an objective one and is defined by a competent trustee

      7    practicing before the specific jurisdiction involved.    See In re

      8    Kayne, 453 B.R. 372, 382 (9th Cir. 2011) (sanctioning attorney under

      9    Fed. R. Bankr. 9011 for failing to perform due diligence), citing

     10    Smyth v. City of Oakland (In re Brooks–Hamilton), 329 B.R. 270, 283

     11    (9th Cir. BAP 2005) (quoting In re Grantham Bros., 922 F.2d 1438, 1441

     12    (9th Cir.1991)), aff'd in part and rev'd in part on other grounds, 271

     13    Fed. Appx. 654, 656 (9th Cir.2008).

     14          Here, the plaintiff is the duly appointed Chapter 7 trustee.    She

     15    was appointed 18 months prior to the commencement of this adversary

     16    proceeding.   Absent allegations in the complaint suggesting otherwise,

     17    post-petition she is deemed the custodian of ECS’s regularly kept

     18    records, 11 U.S.C. §§ 323, 541, 542, and she is fairly charged with

     19    the knowledge of the facts that those records would reveal.    The First

     20    Amended Complaint does not expressly recite the efforts she undertook

     21    to evaluate the merits of a prima facie case or reasonably knowable

     22    affirmative defenses.   Plaintiff Husted’s use of pre-Iqal/Twombly

     23    notice style pleadings and a very general nature of the allegations in

     24    the First Amended Complaint suggest a lack of pre-filing due

     25    diligence.    Reasonable inferences do not suggest that trustee Husted

     26    considered whether the debt was antecedent, 11 U.S.C. § 547(b)(2);

     27    whether those transfers improved defendant’s position, 11 U.S.C. §

     28    547(b)(5), Elliott v. Frontier Properties (In re Shurtleff, Inc.), 778
                                                 45
Filed 12/15/20                              Case 20-02093                              Doc 76



      1    F.2d 1416, 1421 (9th Cir. 1985) (existing as a matter of law unless

      2    case solvent); nor the inapplicability of all affirmative defenses,

      3    known or reasonably knowable.     11 U.S.C. § 547(c).

      4                 2.   Antecedent debt
      5            Preference actions require payment on account of an antecedent

      6    debt.    11 U.S.C.§ 547(b)(2).    An antecedent debt is one owed before

      7    the transfer is actually made.      Id.    A debt is owed when one is

      8    obligated by law to pay it.      Nolen v. Van Dyke Seed Co., Inc. (In re

      9    Gold Coast Seed Co.), 751 F.2d 1118, 1119 (9th Cir. 1985).

     10            The First Amended Complaint is unclear whether the payment was on

     11    account of rent for commercial space or for goods provided and/or

     12    services rendered.    First Am. Compl. 26:5-7 (“goods, services and/or

     13    commercial space”); see also, Exhibits to First Am. Compl. 8, ECF No.

     14    30 (describing “[p]ayment of invoice”).        Because the Insider Entity

     15    Defendants have argued that the payment was for rent and because the

     16    trustee has not resisted that characterization, the court assumes that

     17    the disputed payments were for commercial space rent.

     18            Current rent payments are not on account of an antecedent debt;

     19    late rent payments are on account of an antecedent debt.       In re

     20    Upstairs Gallery, Inc., 167 B.R. 915, 918 (9th Cir. BAP 1994); In re

     21    Coco, 67 B.R. 365, 371 (Bankr. S.D. NY 1986); In re Garrett Tool &

     22    Engineering, Inc., 273 B.R. 123, 126 (E.D. MI 2002); Cf. In re Tanner

     23    Family, LLC, 556 F.3d 1194, 1197 & n. 2 (11th Cir. 2009) (lease

     24    termination payment due when lease executed).

     25            Here, there is no principled manner by which this court may

     26    independently determine whether these three payments were made after

     27    they were due.    The complaint plead only a legal conclusion, “Rents

     28    were made after they had come due...”).        First Am. Compl. 26:11-16.
                                                     46
Filed 12/15/20                            Case 20-02093                             Doc 76



      1                 3.   Ordinary course defense

      2          Trustee Husted’s action is not barred by the ordinary course

      3    affirmative defense.    11 U.S.C. § 547(c)(2); Enserv Co., Inc. v.

      4    Manpower, Inc. (In re Enserv Co., Inc), 64 B.R. 519, 521 (9th Cir. BAP

      5    1986), aff’d. 813 F.2d 1230 (9th Cir. Mar. 19, 1987); Jue v. Liu (In

      6    re Liu), 611 B.R. 864, 880 (9th Cir. BAP 2020).    Section 547(c)(2)

      7    provides:

      8          The trustee may not avoid under this section a transfer--

      9          ...

     10          (2) to the extent that such transfer was in payment of a
                 debt incurred by the debtor in the ordinary course of
     11          business or financial affairs of the debtor and the
                 transferee, and such transfer was--
     12
                 (A) made in the ordinary course of business or financial
     13          affairs of the debtor and the transferee; or

     14          (B) made according to ordinary business terms.

     15    11 U.S.C. § 547(c)(2) (emphasis added).

     16          Since it is an affirmative defense, the plaintiff need not plead

     17    around it and a Rule 12(b)(6) motion will lie only if the facts of the

     18    transaction show that the payment was, in fact, made in the ordinary

     19    course of “business or financial affairs of the debtor and the

     20    transferee” or “according to ordinary business terms.”     11 U.S.C. §

     21    547(c)(2).    Here, the irregular payment dates, i.e., August 31,

     22    September 29, and November 28, 2017, and varying amounts of payment,

     23    i.e., $400,000, $300,000, and $490,000, do not reflect a bar to the

     24    action and are sufficient to defeat, at least for pleading purposes,

     25    an ordinary course defense.

     26          As to the third count, the motion will be granted.

     27          D.     Fourth Cause of Action: Fraudulent Transfers (Actual)

     28          Trustee Husted alleges that rental payments made to the Insider
                                                47
Filed 12/15/20                            Case 20-02093                             Doc 76



      1    Entity Defendants for rent for the Stockton Facility, Mesquite

      2    Facility, and other rented facilities within one year before the

      3    Chapter 11 filing constituted actual fraud.    First Am. Compl. 27:3-

      4    28:19; 75-177; Exhibits to First Am. Compl. 2-8, ECF No. 30.

      5          A trustee may avoid a transfer for a debt incurred within two

      6    years prior to the bankruptcy if the debtor “made such transfer or

      7    incurred such obligation with actual intent to hinder, delay, or

      8    defraud any entity to which the debtor was or became, on or after the

      9    date that such transfer was made or such obligation was incurred,

     10    indebted...”   11 U.S.C. § 548(a)(1).

     11          Ordinarily the intent element of fraud is demonstrated by

     12    circumstantial evidence.    The Ninth Circuit has provided clear

     13    guidance on this subject:

     14          Among the more common circumstantial indicia of fraudulent
                 intent at the time of the transfer are: (1) actual or
     15          threatened litigation against the debtor; (2) a purported
                 transfer of all or substantially all of the debtor's
     16          property; (3) insolvency or other unmanageable indebtedness
                 on the part of the debtor; (4) a special relationship
     17          between the debtor and the transferee; and, after the
                 transfer, (5) retention by the debtor of the property
     18          involved in the putative transfer.
     19          The presence of a single badge of fraud may spur mere
                 suspicion; the confluence of several can constitute
     20          conclusive evidence of actual intent to defraud, absent
                 “significantly clear” evidence of a legitimate supervening
     21          purpose.
     22    In re Acequia, Inc., 34 F.3d 800, 805–06 (9th Cir. 1994).
     23          As is the case here, Rule 12(b)(6) motions frequently target the

     24    sufficiency of the pleadings as to the defendant’s intent to hinder,

     25    delay or defraud creditors.

     26          At least for the purposes of defeating a Rule 12(b)(6) motion,

     27    plaintiff Husted has plead facts giving rise to at least two indicia

     28    of fraud.   The existence of unmanageable debt, Acequia, 34 F.3d at
                                                48
Filed 12/15/20                            Case 20-02093                                Doc 76



      1    805-06, is sufficiently plead by the retention of MCA Financial Group,

      2    Ltd., as its financial advisor, and Snell & Wilmer, a national

      3    insolvency firm, as its legal advisors, as well as its negotiation of

      4    a forbearance agreement through December 31, 2017, and efforts to

      5    restructure its debt.    First Am. Compl. 10:24-11:5, 11:21-12:17.    The

      6    special relationship between the Insider Entity Defendants and ECS,

      7    Acequia, 34 F.3d at 805-06, has been sufficiently plead.     First Am.

      8    Compl. 4:4-5:4, 6:15-20.    Moreover, plaintiff Husted has plead facts

      9    giving rise to the inference if an improper purpose, e.g., self-

     10    dealing, may be inferred. Id. (“absent ‘significantly clear’ evidence

     11    of a legitimate supervening purpose”).

     12          As to the fourth count, the motion will be denied.

     13          E.     Fifth Cause of Action: Fraudulent Transfers (Constructive)
     14          Husted alleges that prepayment for “goods and/or services

     15    subsequently received” gives rise to a cause of action for

     16    constructive fraudulent transfer.    First Am. Compl. 28:25-28.

     17          Constructive fraud is defined by statute.

     18          (a)(1) The trustee may avoid any transfer... of an interest
                 of the debtor in property, or any obligation... incurred by
     19          the debtor, that was made or incurred on or within 2 years
                 before the date of the filing of the petition, if the
     20          debtor voluntarily or involuntarily—
     21          ...
     22          (B) (i) received less than a reasonably equivalent value in
                 exchange for such transfer or obligation; and
     23
                       (ii)(I) was insolvent on the date that such transfer
     24                was made or such obligation was incurred, or became
                       insolvent as a result of such transfer or obligation;
     25
                       (II) was engaged in business or a transaction, or was
     26                about to engage in business or a transaction, for which
                       any property remaining with the debtor was an
     27                unreasonably small capital;
     28                (III) intended to incur, or believed that the debtor
                                                 49
Filed 12/15/20                           Case 20-02093                              Doc 76



      1              would incur, debts that would be beyond the debtor's
                     ability to pay as such debts matured...
      2
           11 U.S.C. § 548(a)(1)(B) (emphasis added).
      3
                 To plead a viable cause of action for constructive fraud the
      4
           plaintiff must plead:
      5
                 To plead plausible constructive fraudulent transfer claims
      6          against Defendants, Trustee had to allege facts to support
                 the following four elements: (1) a transfer of [debtor’s]
      7          interest in property; (2) the transfer was made or incurred
                 within two years before the date of the bankruptcy
      8          petition; (3) [debtor] received less than reasonably
                 equivalent value in exchange for the transfer; and (4) one
      9          of three alternatives:

     10          (I) that [the debtor] was insolvent on the date the
                 transfer was made or became insolvent as a result of the
     11          transfer;

     12          (ii) that [the debtor] was engaged in business for which
                 any property remaining was an unreasonably small capital;
     13          or

     14          (iii) that [the debtor] intended to incur or believed it
                 would incur debts beyond its ability to pay as such debts
     15          matured.

     16    In re Blue Earth, Inc., No. 3:16-BK-30296-DM, 2019 WL 4929933, at *6

     17    (9th Cir. BAP Oct. 2, 2019), appeal docketed, No. 19-60054 (9th Cir.

     18    October 30, 2019) (emphasis added).

     19          Here, after incorporating by reference the preceding 181

     20    paragraphs, Trustee Husted alleges constructive fraudulent transfers

     21    with respect to the Insider Entity Defendants arising out of (A) 24

     22    payments to Sinclair Partners, LLC, characterized as “rent”

     23    aggregating $1.473 million; (B) 27 payments to ECS Big Town, LLC,

     24    called “rent” aggregating $551,737; and (C) 3 payments to All Metals,

     25    Inc., denominated “payment of invoice” aggregating $1.190 million.

     26    First Am. Compl. 25:27-26:2; Exhibits to First Amend Compl. 8, ECF No.

     27    30.   The complaint then alleges:

     28          To the extent one or more of the Transfers identified on
                                                 50
Filed 12/15/20                             Case 20-02093                              Doc 76



      1          Exhibit A were not made on account of an antecedent debt,
                 [and] was a prepayment for goods or services subsequently
      2          received, Plaintiff pleads that the debtor did not receive
                 reasonably equivalent value in exchange for such
      3          transfer(s) and:

      4          a) Debtor was insolvent as of the date of the Transfers or
                 became insolvent as a result of the Transfers; or
      5
                 b) The Debtor was engaged in, or about to engage in
      6          business or a transaction for which any property remaining
                 with the Debtors or for whose benefit the Transfer was made
      7          was an unreasonably small capital; or

      8          c) the Debtor intended to incur, or believed it would
                 incur, debts beyond their ability to pay upon maturity.
      9

     10    First Am. Compl. 28:25-29:7 (emphasis added).

     11          Plaintiff Husted has not plead facts from which the court can

     12    plausibly find that ECS did not receive “reasonably equivalent value.”

     13    Recitation of the statutory elements of a cause of action is

     14    insufficient.   Id.   At a bare minimum, the complaint must “describe

     15    the consideration and why the value of such consideration was less

     16    than the amount transferred.”    Sarachek v. The Right Place, Inc. (In

     17    re Agriprocessors), Inc., No. Adv 10-09123, 2011 WL 4621741, at *6

     18    (Bankr. N.D. Iowa Sept. 30, 2011); Angel v. Ber Care Inc. (In re

     19    Caremerica), Inc., 409 B.R. 737, 756 (Bankr. E.D.N.C. 2009).

     20          Here, the complaint falls short of the standards articulated in

     21    Iqbal and Twombly.    Paraphrased, the complaint is fairly read to state

     22    that if the payments were not rent and if they were prepayment for

     23    goods or services they are not of reasonably equivalent value.     First

     24    Am. Compl. 28:25-29:7.    The First Amended Complaint makes no effort to

     25    describe the consideration (or in the alternative, state that no

     26    consideration was received) or to explain why the consideration

     27    received was less than the amount transferred.

     28          As to the fifth count, the motion will be granted.
                                                 51
Filed 12/15/20                           Case 20-02093                               Doc 76



      1          F.   Seventh Cause of Action: Recovery of Avoided Transfers

      2          Plaintiff Husted’s seventh cause of action seeks to recover

      3    transactions avoided under 11 U.S.C. §§ 547, 548 and 549, i.e., the

      4    third, fourth, fifth and sixth cause of action. 11 U.S.C. § 550(a).

      5    Since § 550 recovery is dependent on the trustee prevailing on the

      6    underlying cause of action and since this motion will be granted as to

      7    the third, fifth and sixth causes of action, the motion will also be

      8    granted as to those causes of action insofar as they are contained in

      9    the seventh cause of action, and otherwise denied.

     10          G.   Leave to Amend

     11          Federal Rule of Civil Procedure 15(a) provides that leave to

     12    amend “shall be freely given when justice so requires.” Circuit law is

     13    well settled on this point.   “In determining whether to grant leave to

     14    amend the court should consider five factors: bad faith, undue delay,

     15    prejudice, futility, and previous amendments. Johnson v. Buckley, 356

     16    F.3d 1067, 1077 (9th Cir. 2004). “Futility alone can justify” denying

     17    leave to amend. Nunes v. Ashcroft, 375 F.3d 805, 808 (9th Cir. 2004).”

     18    Aluisi v. Jorgensen (In re Jorgensen), No. 18-14586-A-13, 2019 WL

     19    6720418, at *9 (Bankr. E.D. Cal. Dec. 10, 2019).

     20          Bad faith, undue delay and prejudice are not present here.

     21    Except as otherwise provided herein, this court believes that

     22    plaintiff Husted may be able to cure the pleading deficiencies and

     23    will grant leave to file a Second Amended Complaint.

     24    \

     25    \

     26    \

     27    \

     28    \
                                               52
Filed 12/15/20                           Case 20-02093                               Doc 76



      1    VI.   CONCLUSION

      2          For each of these reasons, the motions will be granted and denied

      3    as provided herein.   The court will issue an order from chambers.

      4           December 15, 2020

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Filed 12/15/20                                    Case 20-02093                                            Doc 76



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                              Instructions to Clerk of Court
      2                             Service List - Not Part of Order/Judgment
      3    The Clerk of Court is instructed to send the Order/Judgment or other court generated
      4    document transmitted herewith to the parties below. The Clerk of Court will send the document
           via the BNC or, if checked ____, via the U.S. mail.
      5

      6    Attorney for the Plaintiff(s)                  Attorneys for the Defendant(s)
      7
           Bankruptcy Trustee (if appointed in the case) Office of the U.S. Trustee
      8                                                  Robert T. Matsui United States Courthouse
                                                         501 I Street, Room 7-500
      9                                                  Sacramento, CA 95814
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